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                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS

UNITED STATES OF AMERICA,
ex rel. INTEGRA MED ANALYTICS LLC,

                                                 Case No.: 17-CV-0886-DAE
       Plaintiff,

V.
                                                 FIRST AMENDED COMPLAINT

1.   BAYLOR SCOTT & WHITE HEALTH,                FILED UNDER SEAL PURSUANT
2.   BAYLOR UNIVERSITY MEDICAL CENTER            TO 31 U.S.C. 3730
     DALLAS,
3.   HILLCREST BAPTIST MEDICAL CENTER,
                                                 JURY TRIAL DEMANDED
4.   SCOTT & WHITE HOSPITAL ROUND ROCK,
5.   SCOTT & WHITE MEMORIAL HOSPITAL
     TEMPLE
       Defendants.
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        This is an action brought by Plaintiff/Relator Integra Med Analytics LLC ("Relator") on

 behalf of the United States of America pursuant to the Federal False Claims Act, 31 U.S.C. § 3729,

et seq. In support thereof, Relator alleges as follows:

I.      INTRODUCTION

        1.      Through a proprietary analysis of all claims submitted to Medicare nationwide

since 2011, Relator uncovered that Baylor Scott & White Health and its affiliated hospitals

(collectively, "Baylor" or the "Baylor Defendants") routinely used unwarranted Major

Complication and Comorbidity secondary codes, which falsely inflated claims submitted to

Medicare. A multi-faceted investigation of Baylor and its leadershipwhich included

interviewing former employees, reviewing training and marketing materials, and extensive

econometric analysisconfirmed that Baylor's false Medicare claims were not only intentional,

but were part of a systematic effort to boost its Medicare revenue. Relator now brings this action

to recover over $61.8 million paid by the United States as a result of Baylor's fraud.

       2.      Baylor was created from the combination of two Texas healthcare systems, Baylor

Health Care System and Scott & White Healthcare. Together, these organizations formed one of

the nation's largest health systems, operating approximately 20 inpatient short-term acute care

hospitals with inpatient Medicare claims throughout central and north Texas. Baylor operates this

system through a number of wholly-owned and/or controlled entities, including the defendant

facilities. Baylor received approximately $639 million in Medicare reimbursements for inpatient

stays at its short term acute care facilities in fiscal year 2015, accounting for approximately half of

its gross revenue.

       3.      To establish amounts billed to Medicare for patient services, hospital systems like

Baylor must properly code such services according to preapproved standards. Baylor's Code of




                                                  1
    Conduct publicly espouses lofty coding standards through which it vows to implement "controls

 to prevent, detect and correct actions that do not comply with applicable federal and state laws,"

 and "to submit claims to government ... that reflect truth and accuracy." In reality, Baylor's own

 corporate leadership disregarded these standards and created a systemwide culture that promoted

 increasing Medicare billing without regard for accuracy.

          4.     In addition to identifying the Defendants' false claims through its proprietary

 analysisand then confirming           its findings through exhaustive        investigationRelator also
 performed extensive econometric analysis designed to eliminate conceivable                         innocent

 explanations. Thus, for instance, Relator's analysis rules out the possibility that the Defendants'

 inflated Medicare billings arise from an issue with the treating doctors or the type of patient that

Baylor treats. Moreover, to be conservative, only the most extreme, statistically significant cases

of upcoding have been identified by the Relator as fraudulent.

          5.     In short, Relator has determined that Baylor has submitted more than $61.8 million

in false claims for Medicare reimbursement over the past seven years.

II.       JURISDICTION AND VENUE

          6.     This Court has subject matter jurisdiction over this action pursuant to 31 U.S.C.

§   3732(a) and 28 U.S.C. § 1331.

          7.     This Court has personal jurisdiction over each named Defendant because, inter alia,

the Defendants transacted business in this District; reside in this District; engaged in wrongdoing

in this District; and/or caused the submission of false or fraudulent claims in this District.

Moreover, 31 U.S.C.       §   3732(a) provides for nationwide service of process, which is an




 Compliance with Billing and Coding Laws and Regulations, Baylor Scott & White Health Code of Conduct (2017),
          https://goo.glfKKhSaq.
available at




                                                     2
 independent ground for personal jurisdiction.

         8.        Venue is proper in this District under 31 U.S.C.    §   3732(a) and 28 U.S.C.   §   1391(b)

 and (c). During the relevant time period, a substantial portion of the events complained of that

 gave rise to Plaintiff's claims occurred in this District in violation of 31   u.s.c. §   3729 and § 3730.

         9.        There has been no public disclosure of the allegations herein. To the extent that

there has been a public disclosure unknown to Relator, Relator is an "original source" under 31

u.s.c. §      3730(e)(4). Relator has direct and independent knowledge of the information on which

the allegations are based and voluntarily provided the information to the Government before filing

this qui tam action based on that information. See 31 U.S.C.      §   3730(e)(4).

III.    PARTIES

        10.        Relator Integra Med Analytics LLC is a Texas limited liability company with its

principal place of business in Austin, Texas.

        11.       Relator is an associated company of Integra Research Group LLC, which

specializes in using statistical analysis to uncover and prove fraud. Integra Research Group LLC's

sister company, Integra REC LLC, has extensive experience using statistical analysis to detect and

prove fraud, specifically in mortgage-backed securities and other financial markets. Integra REC

LLC has successfully initiated numerous cases under the False Claims Act.

        12.       Defendant Baylor Scott & White Health is a Texas corporation with its principal

place of business located at 3500 Gaston Avenue, Dallas, TX 75246, and its registered agent listed

as CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201.

        13.       Defendant Baylor University Medical Center          Dallas is a Texas corporation with

its principal place of business located at 3500 Gaston Avenue, Dallas, TX 75246, and its registered

agent listed as CT Corporation System, 1999 Bryan Street, Suite 900, Dallas, TX 75201.




                                                   3
              14.      Defendant Hillcrest Baptist Medical Center is a Texas corporation with its principal

    place of business located at 100 Hillcrest Medical Boulevard, Waco, TX 76712, and its registered

    agent listed as CT Corporation System,           1999   Bryan Street, Suite   900,   Dallas, TX 75201.

              15.     Defendant Scott & White Hospital             Round Rock is a Texas corporation with its

    principal place of business located at 300 University Boulevard, Round Rock, TX 78665, and its

    registered agent listed as CT Corporation System,            1999 Bryan   Street, Suite 900, Dallas, TX 75201.

              16.     Defendant Scott & White Memorial Hospital                Temple is a Texas corporation with

    its principal place of business located at 2401 South 31St Street, Temple, TX 76508, and its

    registered agent listed as CT Corporation System,            1999   Bryan Street, Suite 900, Dallas, TX 75201.

    IV.       SUBSTANTIVE ALLEGATIONS

             A.       Overview of Medicare Reimbursement and Upcoding

              17.     Medicare makes payments to hospitals on a per-discharge basis, i.e., one payment

for each inpatient hospital stay. The payment is designed th cover the average cost of resources

needed to treat each patient's needs. To account for the patient's needs, Medicare assigns each

discharge to a diagnosis related group (a "DRG"), which groups patients with similar clinical

problems that are expected to require similar amounts of hospital resources.2 The DRG is the single

most impactful factor in determining the average payment for a claim, which can be further

adjusted by hospital-specific factors such as market conditions in the hospital's city, indirect

medical education payments, and disproportionate share payments.

             18.      The DRG is primarily determined by three types of codes from a Medicare claim:

the principal diagnosis code, surgical procedure codes, and secondary diagnosis codes. The




2
          Medpac, Hospital Acute Inpatient   Services Payment System Payment Basics, Oct. 2014.




                                                             4
 principal diagnosis code is defined as the "condition established after study to be chiefly

 responsible for occasioning the admission of the patient to the hospital for                care."3   Surgical

 procedure codes represent surgical procedures performed in an operating room setting at the

 hospital. Secondary diagnoses represent "all conditions that coexist at the time of admission, that

 develop subsequently, or that affect the treatment received and/or the length of stay."4

              19.     There are more than 330 base DRGs, and each base DRG can have up to three

 severity levels: (i) without Complication or Major Complication, (ii) with Complication, and (iii)

with Major          Complication.5   The secondary diagnoses on the claim determine the severity level of

a DRG. The Centers for Medicare and Medicaid Services (the "CMS") publishes a list of codes

each year that, when added to a claim, result in the claim being considered a Complication or

Comorbidity (a "CC") or Major Complication or Comorbidity (an "MCC"). Adding a CC

secondary code to a claim can increase the value of the claim from anywhere between

approximately $1,000 and $10,000. Adding an MCC secondary code can increase the value $1,000

to $25,000. Hospitals are thus incentivized to add unwarranted secondary diagnosis codes to

Medicare reimbursement claims.

         B.           Relator has uncovered a culture of non-compliance at Baylor, which actively
                      encouraged doctors to apply unnecessary CCs and MCCs

         20.          Like most hospital groups, Baylor has a clinical documentation improvement

("CDI") program. These programs are typically designed to bridge potential gaps between

Medicare's coding standards and commonly used clinical language. At Baylor, however, CDI




 See Centers for Disease Control, lCD-9-CM Official Guidelines for Coding and Reporting, Oct. 1, 2011 at 88,
available at https://goo.gl/DC55Wx.
41d. at 91.
 See Medpac, HospitalAcute Inpatient Services Payment System Payment Basics, Oct. 2014.
 efforts are primarily geared toward inflating the hospital system's Medicare revenue. Indeed, the

 former head of Baylor's CDI program in Central Texas, Anthony Matejicka, boasts that he

 "add[ed] consistently to top line revenue" and brought about "improvement" in Baylor's Case Mix

 Index ("CMI"), which is influenced by a hospital's CC and MCC rates.


                                        Anthony (Tony) Matejicka



                   +System VP for Physician Documentation        and Coding.C.ntrat Texas Division
                    8ayor Scott & White Health
                    .nQi2O4                tyrimo
                    T'rneCenrI Ta

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                    Measurable and consistent CMI imprevemefl
                    Enhanced patient se.en     de ing thus raising Qua My rnetrs compared te National
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                   +Medical Director Coding and Utilization
                    Sayor Scott & White Health
                    OcU(n)9 oec Q12 . 3yrs3mos
                    TempieTX

                    Significamly lmproed Moriait !nC.
                   Added to top line revenue at rur atIcst Licility
                   Measurable c:Mi iniprovernent
                   Enhanced patient seventy indeng
                      proved LOS & Solidify medical necessity designation
                   learn building and engagement o all specially departments & Chairs



        21.     Under Matej icka, Baylor's employee training was singularly focused on coding for

CCs and MCCs. And Baylor made clear to its doctors, coders, and CDI specialists how important

their coding efforts were to the hospital's bottom line. In a presentation to healthcare professionals,

Matejicka claimed that "key words now determine the quality of care, the patient's severity of

illness, and provide triggers for reimbursement." Baylor and Matejicka wanted their employees to

use "magic words" that led to higher paying CCs and MCCs. For instance, in training doctors on

how to document altered mental status (or "AMS") in patients, Baylor encouraged doctors to
diagnose encephalopathy or acute delirium, explaining that doing so would allow coders to

increase the patient's severity of illness (or "SOl"). Baylor blithely added that "there are Other

causes of AMS, too ©."


             TEAL guickies:
                Teals remind and educate you on the specificity  of language that allows
               accurate coding submission. Why? The quality of codes submitted affect
               jointly the Quality ratings of the Attending Physician & the Hospital, and
               reimbursement. If not Treating a dx it doesn't count for Quality metrics.
               Traj,nt        IAjJy                    ga             ltarijg of tkcPagnps4



             WORDS CMS LOVES:              Possibly. Suspected, Probably. Ukely; Acute        or
               Chronic: ACUTE = <8 Weeks in lCD 9. FAIWRE (NOT dysfunction)!
             WORDS THAT ARE NOT CODABLE: Dysfunction, PMHX of, History of!
             VerSUS,...   Suspicious, Worrisome, Concerning for... Presumed... Consistent with...
             Treating for... Covering for... Suggestive of... Differential Diagnoses are...

             A - Anything that is a Symptom, Include adue to_" (Abd pain, HA,             Chest
               Pain, AMS, Syncope, Dizziness....... )

             Accelerated        HTN > 160/95 & requires IV med to control -In ER & on Ward.
             AKI   > .3 rise in Creatinine Acutely   Or ARFailure: > .5 mg rise acutely

             AMS - Encephalopathy due to_.j or Acute Delirium due to_.
              Encepha!opathy = Global dysfunction in absence ofstructural Brain disease.
               Delirum =confuslon + sympathetic hyperactivity. ("Stupor's "Confusion" do not
               add SQl). There are Other causes of AMS, too. ©


       22.      If, despite this training, a doctor's initial diagnosis did not warrant a CC or MCC,

Baylor would often send the doctor a "query" designed to push the doctor to amend the assessment.

Baylor's queries would ask doctors to "specify" their diagnoses, and would suggest either specific

revenue-increasing CCs or MCCs, or provide options listing several possible CCs and                 MCCs
often including conditions wholly unrelated to the patient's primary diagnosis. Baylor also

prompted doctors to document CCs and MCCs with post-surgery progress notes, some with




                                                        7
 particularly uncommon pairings. For instance, in its progress notes for plastic surgery patients,

 Baylor gave doctors a multiple-choice option to include severe protein calorie malnutrition.




         23.     Not surprisingly, Relator's analysis shows that the Baylor's rate of severe protein

malnutrition in plastic surgery claims dwarfs the national rate. In fact, a staggering 656% of the

plastic surgery patients treated by three Baylor Defendants were given the secondary diagnosis of

other severe protein-calorie     malnutrition.6




 The 3 Baylor Hospitals in the chart refer to: Hillcrest Baptist Medical Center, Scott & White HospitalRound Rock
and Scott & White Memorial HospitalTemple. Relator's analysis is based on plastic surgery claims from 2011
through the third quarter of 2015.



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                            Non-Baylor Hospitals                         3   Baylor Hospitals


               24.   Time and again, former Baylor coders and CDI specialists confirmed to Relator

that these findings were consistent with Baylor's culture of pushing coders and CDI specialists to

apply CCs and MCCs without regard for accuracy or necessity. This pattern persists during the

relevant period, and Relator has found that the excessive coding of Misstated MCCs even increased

during 2017.

               C.    Relator's Methodology

               25.   Relator uncovered Baylor's fraud by employing unique algorithms and statistical

processes to analyze inpatient claims data for short term acute care hospitals from 2011 through

June 2017, obtained from CMS. These proprietary methods have allowed Relator to identify with

specificity the false claims made by Baylor to fraudulently inflate revenue on Medicare claims.




 Only claims through the second quarter of 2017 were analyzed by Relator. Claims after June 30, 2017 have not
yet been made available to Relator.
    Relator's analysis focused on identifying certain secondary diagnoses          codesMCCsthat were
    fraudulently added by Baylor to Medicare claims to increase reimbursements.

            26.      Relator first formed groupings corresponding to 184 specific principal diagnosis

    codes. To control for the patient's principal diagnosis, Relator used these groupings as comparative

    "bins." Within each bin, Relator compared the usage rate of specific MCCs at hospitals in the

    Baylor system to usage rates in other acute care inpatient hospitals. In addition, to ensure that only

    the truly fraudulent claims were analyzed, Relator excluded any claims for which adding an MCC

    did not increase the value.8 Similarly, Relator excluded any claims involving patients who died in

    the course of their treatment, as these claims tend to involve patients that are sicker and have higher

    rates of MCCs.

           27.     Given that some natural variation in usage rates among hospitals is expected,

Relator used two filters to further ensure that it identified truly abnormal usage. First, only

    instances where MCCs were used more than twice the national rate or were used at a rate three

percentage points higher than in the other hospitals were considered false claims. Second, Relator

validated the results of its analysis by determining the statistical significance of each fraudulent

pattern used by Baylor. Relator only flagged claim groupings where there was less than a                     1    in

1,000 chance of Relator's findings being due to chance. Under this approach, Relator identified

209 combinations of principal diagnosis codes and Misstated MCCs in which Baylor excessively

upcodes. Relator included in this complaint only the principal diagnosis code groups that met these

criteria and were used excessively by Baylor.




8
  Some diagnosis related groups do not have an MCC severity level, and as such, adding an MCC does not increase
the reimbursement amount.



                                                       10
          28.      For example, Baylor and other hospitals have a large number of claims involving a

 Nonrheumatic Aortic Valve Disorders. Relator has found that among Baylor's more than 838

 claims involving a Nonrheumatic Aortic Valve Disorders, 59 had had an accompanying secondary

 MCC of encephalopathy,9 representing 7.04 percent of their Nonrheumatic Aortic Valve Disorders

 claims. The other non-Baylor hospitals, used by Relator for benchmarking, had more than 200,000

Nonrheumatic Aortic Valve Disorders claims, but only 2.67 percent of those claims reported

 encephalopathy as an MCC. In other words, Baylor coded encephalopathy on these claims at a rate

that is 2.64 times higher than comparable hospitalsand profited nearly $13,000 each time it did



         29.      While Relator's precise benchmarking of medical billing is unique, experts have

developed and applied similar benchmarks in financial return                 literature.'0   Benchmarking has the

advantage of allowing for very specific and comparative groupings. This avoids imposing specific

linearity on the data, which in turn gives Relator's methodology more statistical power and

precision.

        30.       To further validate its conclusions and control for other explanations, Relator ran a

bin-based fixed effect linear regression model. Separate regressions were run for claims under each

principal diagnosis bin and Relator included variables to control for patient characteristics such as

age, gender, and race, as well as county demographic factors such as the unemployment rate,

median income, and urban-rural differences. Additionally, variables for the length of                    stay   and




 See section IV.D. 1 .A for a description of encephalopathy and the relevant codes that are included.
10
  See the widely-used methodology developed by Kent Daniel, Mark Grinblatt, Sheridan Titman, Russ Wermers,
Measuring Mutual Fund Performance with Characteristic-Based Benchmarks, The Journal of Finance, vol. 52(3)
(1997), at 1035-58. This methodology is first applied to measuring hedge-fund performance by, John M. Griffin
and Jin Xu, How Smart Are the Smart Guys? A Unique Viewfrom Hedge Fund Stock Holdings, Review of Financial
Studies, Vol. 22.7 (2009), at 2531-70.



                                                         11
 discharge status were included to control for the patient's health and overall claim severity. Relator

 also tested for the potential impact that doctors, individual patients, and a hospital's region could

 have on MCC rates. Even when considering all of these factors, Baylor's MCC usage rate is

 significantly higher than at other hospitals.

         D.       Defendants' False Claims

                  1.      The False Claims made by Baylor

         31.      Relator has determined that Baylor primarily used three categories of secondary

MCC codes to increase the value of its claims: encephalopathy (including toxic encephalopathy),

respiratory failure (which also includes pulmonary insufficiency), and severe malnutrition

(collectively, the "Misstated MCCs").11 These will be discussed in more detail in the following

sections.

         32.     As illustrated in Figure 1, Baylor used the Misstated MCCs at a significantly higher

rate than other hospitals. Specifically, non-Baylor hospitals used one of these three codes on

approximately 10.27 percent of claims from 2011 through June 2017, while Baylor hospitals used

one of these three codes on 19.39 percent of such claimsor 1.89 times the rate at other hospitals.




 ' Three of Baylor's hospitals
                               (Hillcrest Baptist Medical Center, Scott & White Hospital Round Rock, and Scott &
White Memorial Hospital) excessively used all three major complications. A fourth hospital (Baylor University
Medical Center Dallas) is only alleged in this complaint to have upcoded encephalopathy to make a false claim.
Hence, Baylor University Medical Center Dallas is only included in the encephalopathy analysis.



                                                       12
 Figure  1. Rate of Misstated MCC Upcoding by Year for Baylor Versus Other Hospitals.
 This figure shows the rate at which Baylor is using one of the Misstated MCCs relative to other hospitals
 over time. This analysis is based on the principal diagnosis codes listed in each section for the specific
 fraudulent patterns.

  0
  U,


  0
       20%


       15%

  0

       10%




                2011         2012         2013           2014        2015          2016         2017

                                         ENon-Baylor Hospitals UBaylor



          33.   Figure 2 below shows that Baylor used a higher rate of Misstated MCC codes not

just in the principal diagnosis categories analyzed by Relator, but across a large variety of principal

diagnosis codes. Specifically, Figure 2 shows a dot for each principal diagnosis category, with the

rate of Misstated MCC at Baylor on the x-axis and the rate of Misstated MCC at other non-Baylor

hospitals on the y-axis. Dots to the right of the 45-degree line indicate a higher rate of Misstated

MCCs at Baylor within that principal diagnosis category than at other non-Baylor hospitals. As

the figure shows, Baylor has higher rates of Misstated MCCs across 176 of 184 (95 .65%) principal

diagnosis categories. The extent to which Baylor excessively upcoded on the categories identified

by Relator was not offset by a relative downcoding for other categories as Baylor consistently

upcodes relative to other hospitals across a variety of principal diagnosis codes.




                                                    13
 Figure 2. Rate of Misstated MCCs by Principal Diagnosis Code at Baylor Versus Other Hospitals.
 For the 184 principal diagnoses with at least 100 claims at Baylor (each represented by a dot), this figure
 compares the rate of Misstated MCCs at Baylor versus non-Baylor hospitals. Red dots to the right of the
 45-degree line indicate Baylor is coding the Misstated MCCs higher than average.



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                                       20°.                         .40°.                          o0°.
                                Usage Percentage of Any of the Misstated MCCs at Baylor
                                          0 Lower at Baylor   Higher at Baylor


                          A.     Encephalopathy

        34.         The first Misstated MCC fraudulently used by Baylor to make false claims is

encephalopathy. The codes included with encephalopathy are listed in Table                1.   Encephalopathy is

a term for brain disease or damage to the brain where the brain is regarded as "altered in its

structure or function." The telltale symptom is an altered mental state, but altered mental state

alone is insufficient for diagnosing encephalopathy. Encephalopathy can be acute or chronic, so

the related signs and symptoms can be varied as well. This condition commonly manifests as




                                                      14
confusion, agitation, or lethargy, but may include aphasia (altered speech), ataxia (altered gait) and

memory loss.

Table 1. List of Encephalopathy ICD-9 and lCD-b Diagnosis Codes.

               ICD-9 Diagnosis Code       Descrintion
               34830                      Encephalopathy, unspecified
               34831                      Metabolic encephalopathy
               34839                      Other encephalopathy
               34982                      Toxic encephalopathy

               lCD-iD Diaenosis Code      Descrintioll
               G92                        Toxic encephalopathy
               G9340                      Encephalopathy, unspecified
               G934 1                     Metabolic encephalopathy
               G9349                      Other encephalopathy
               16783                      Posterior reversible encephalopathy syndrome

         35.    The most common causes of encephalopathy are liver damage, cerebral anoxia

(severe lack of oxygen to the brain) or kidney failure. Because the causes are extremely varied, no

single lab test can prove the presence of encephalopathy. Therefore, in diagnosing the condition,

a medical practitioner must keep multiple considerations in mind. The challenge is to properly

identify the root cause of the symptoms observed and eliminate unlikely causes based on objective

signs.

         36.   Encephalopathy is distinguishable from conditions that have similar symptoms. In

elderly hospital patients, for instance, temporary instances of lethargy, agitation and confusion are

commonly observed, often right after an intense surgery or as the result of a urinary tract infection.

These same signs can be observed in patients as "sundowning" or "late-day confusion" in the late

afternoon or evening, but these effects are temporary and are actually related to chronic dementia,

not encephalopathy.

         37.   Between 2011 and June 2017, Baylor was 1.54 times more likely to code

encephalopathy than other hospitals. During this period, Baylor coded encephalopathy on 15.50




                                                  15
 percent of all its claims, compared to 10.10 percent at other hospitals. Baylor's usage of

 encephalopathy over time, relative to the nationwide average, is shown in Figure 3.

 Figure 3. Rate of Encephalopathy by Year for Baylor Versus Other Hospitals.
This figure shows the rate of encephalopathy at Baylor and at other hospitals from 2011 through June 2017,
when added to the relevant principal diagnosis codes listed in Table 2.



        15%

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        10%
  0
  C's




         0%
                  2011           2012        2013           2014      2015          2016        2017

                                            Non-Baylor Hospitals IBaylor

                                    i.      Specflc Patterns ofFraud with Encephalopathy
           38.      Table 2 provides a list of the principal diagnosis codes used by Baylor to upcode

with encephalopathy. Relator identified 37 principal diagnosis codes in conjunction with which

Baylor coded encephalopathy at a rate at least two times and/or three percentage points higher than

the nationwide average. Relator has included only patterns that were statistically significant at the

99.9% level, meaning it is virtually impossible the patterns are due to chance.

Table 2. Patterns Used by Baylor to Upcode with Encephalopathy.
The following table lists the principal diagnosis categories in which Baylor excessively upcodes with
encephalopathy. 1 principal diagnosis category with fewer than 11 fraudulent claims at Baylor has been
omitted from the table.
                                                            % with       Baylor Rate
                                    % with MCC at           MCC at        Relative to       Num. of Fraud
         Principal Diagnosis         Other Hospitals        Baylor   Nationwide Average    Claims at Baylor
        Unspecified Septicemia           19.21%             22.83%           119%                399



                                                       16
                                                        % with        Baylor Rate
                                 % with MCC at          MCC at         Relative to      Num. of Fraud
     Principal Diagnosis         Other Hospitals        Baylor    Nationwide Average   Claims at Baylor
 Urinary Tract Infection; Site
                                     18.17%             28.82%          159%                 347
        Not_Specified
Occlusion of Cerebral Arteries       8.50%              14.00%          165%                 301
          Epilepsy                   15.04%             29.00%          193%                 180
  Intracranial Hemorrhage            14.20%             23.58%          166%                 119
  Other Intracranial Injury          8.37%              13.06%          156%                 97
 Substance-related Disorders         19.36%             44.66%          231%                 90
    Other Gram Negative
                              19.29%                    26.63%          138%                 81
          Septicemia___________________
    Cystitis and Urethritis         13.97%              27.62%          198%                 74
 Staphylococcal Septicemia          20.8 1%             29.72%          143%                 71
     Poisoning by Other
                                    19.79%              32.77%          166%                 69
   Medications_and Drugs
   Osteoarthritis; Localized        0.56%                1.3 8%         247%                 68
      E. Coli Septicemia            18.68%              22.75%          122%                 54
    Other Diseases of the
                                     3.32%              6.43%           194%                 50
     Circulatory_System
  Coronary Atherosclerosis          1.18%               3.50%           298%                 49
  Streptococcal Septicemia          18.16%              25.90%          143%                 45
 Other Endocrine Disorders          13.78%              22.68%          165%                 43
Other Diseases of the Nervous
                                     7.87%              13.45%          171%                 43
  System_and_Sense_Organs
  Poisoning by Psychotropic
                          26.71%                        49.47%          185%                 43
           Agents________________
       Convulsions                  12.45%              22.14%          178%                 37
 Nonrheumatic Aortic Valve
                             2.67%                      7.04%           264%                 37
          Disorders__________________
  Secondary Malignancy of
                             10.17%                     19.06%          187%                 36
         Brainlspine_________________
  Delirium Dementia and
Amnestic and Other Cognitive        15.02%              29.7 1%         198%                 35
         Disorders__________________
 Other Fluid and Electrolyte
                            8.40%                       12.77%          152%                 31
         Disorders__________________
    Disorders of Mineral
                          12.62%                        23.44%          186%                 28
        Metabolism________________
 Alcohol-related Disorders          6.89%               11.69%          170%                 27
Other Endocrine; Nutritional;
and Metabolic Diseases and          5.35%               8.70%           163%                24
    Immunity_Disorders
   Other and Unspecified
Hereditary and Degenerative         8.09%               15.51%          192%                23
    Nervous_Conditions
Other Injuries and Conditions
                                    6.14%               12.84%         209%                 22
   Due_to_External_Causes
  Infective Arthritis and
 Osteomyelitis (except that         3.39%               6.75%           199%                21
  Caused by_TB_or_STD)
 Diabetes with Circulatory
                                    3.88%               7.82%          201%                 16
      Manifestations
    Another Aneurysm                3.84%               7.86%          205%                 15




                                                   17
                                                        % with       Baylor Rate
                                 % with MCC at          MCC at        Relative to      Num. of Fraud
      Principal Diagnosis        Other Hospitals        Baylor   Nationwide Average   Claims at Baylor
    Spinal Stenosis; Lumbar
                                     1.68%              3.54%          211%                  15
              Region_________________
  Fracture of Tibia and Fibula       2.60%              7.03%          270%                 14
         Chemotherapy                0.98%              2.38%          243%                 14
    Other Bone Disease and
                                     1   58%            4 09%          259%                  12
  Musculoskeletal_Deformities



        39.     Figure 4 below shows that Baylor not only used a higher rate of encephalopathy in

the few categories listed above, but also across a large variety of principal diagnosis codes. The

red dots to the right of the 45-degree line indicate higher rates of encephalopathy at Baylor versus

the nationwide average. This figure shows that Baylor has a higher rate of encephalopathy for 160

out of 184 (86.96%) principal diagnosis categories. In other words, the extent to which Baylor

excessively upcoded encephalopathy on the categories listed in Table 2 above was not offset by

relative downcoding in other principal diagnosis categories.




                                                   18
Figure 4. Rate of Encephalopathy by Principal Diagnosis Code at Baylor Versus Other Hospitals.
For the 184 principal diagnoses with at least 100 claims at Baylor (each represented by a dot), this figure
compares the rate of encephalopathy at Baylor versus non-Baylor hospitals. Red dots to the right of the 45-
degree line indicate Baylor is coding encephalopathy at a rate higher than the nationwide average.




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                0%              10%                    20%               30%               40%    50%
                                            Usage Percentage of Encephalopathy at Baylor
                                                  Lower at   Baylor Higher at Baylor


                                      ii.        Specflc False Claims with Encephalopathy

          40.        The Relator has identified many specific false Medicare claims submitted by Baylor

involving encephalopathy. The following table includes 50 examples.




                                                             19
Table 3. False Claims made by Baylor Using Encephalopathy.
The following table presents specific examples of false claims made by Baylor using encephalopathy. The
first six digits of the beneficiary ID has been removed to make it harder to identify the individual patients.




               II
 Beneficiary                              Age!                                                           False
                             Discharge                  Principal     MCC False          DRG wI False




                                         I
ID! Claim ID   Hospital                  Gender/                                                         Claim
                                Date                  Diagnosis        Claim               Claim
                                          Race                                       I


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                       B.      Respiratory Failure

       41.     The second Misstated MCC that Baylor used at an excessive rate is respiratory

failure, which includes pulmonary insufficiency. The codes classified as respiratory failure are

listed in Table 4 below. Respiratory failure is a syndrome characterized by poor gas transfer in the

lungs at the alveolar and capillary levels as a result of a problem making it difficult to breathe. It

can be acute or chronic. There are two types: the first and most common is hypoxemia

("oxygenation failure"), and the second type demonstrates both hypoxemia and hypercapnia

("ventilatory failure"). Respiratory failure can be acute and life-threatening, or chronic and

manageable with modifications.


                                                 24
 Table 4. List of Respiratory Failure ICD-9 and lCD-tO Diagnosis Codes.

        ICD-9
    Diagnosis Code   Descrintion
     5184            Acute edema of lung, unspecified
     5185            Pulmonary insufficiency following trauma and surgery
     51851           Acute respiratory failure following trauma and surgery
     51852           Other pulmonary insufficiency not elsewhere classified following traumalsurgery
     51853           Acute and chronic respiratory failure following trauma and surgery
     51881           Acute respiratory failure
     51884           Acute and chronic respiratory failure

       lCD-b
    Diagnosis Code   Descrintion
     J8 10           Acute pulmonary edema
     J95 1           Acute pulmonary insufficiency following thoracic surgery
     3952            Acute pulmonary insufficiency following nonthoracic surgery
     3953            Chronic pulmonary insufficiency following surgery
     J9582 1         Acute postprocedural respiratory failure
     J95 822         Acute and chronic postprocedural respiratory failure
     J9600           Acute respiratory failure, unspecified whether with hypoxia or hypercapnia
     J960 1          Acute respiratory failure with hypoxia
     J9602           Acute respiratory failure with hypercapnia
     J9620           Acute and chronic respiratory failure, unspecified whether with hypoxia or
                     hypercapnia
     J962 1          Acute and chronic respiratory failure with hypoxia
     J9622           Acute and chronic respiratory failure with hypercapnia
     J9690           Respiratory failure, unspecified, unspecified whether with hypoxia or hypercapnia
     J9691           Respiratory failure, unspecified with hypoxia
     J9692           Respiratory failure, unspecified with hypercapnia


       42.     The possible root causes are myriad, and may include poor circulation,

neuromuscular disease, chronic bronchitis, COPD, obesity or drug use, an obstructing object, or

an injury to the brain or spinal cord. The signs and symptoms are bluish skin, shortness of breath,

labored breathing and feeling unable to get enough air. The patient may also become very sleepy,

lose consciousness, be confused, or have arrhythmia. After listening to the patient's heartbeat and

lungs, a pulse oximetry test, an arterial blood gas test from a blood draw, and a chest x-ray can

together help determine a proper diagnosis.

       43.     Respiratory failure is distinguishable from conditions that have similar symptoms.

Elderly patients, for example, frequently breathe shallowly during sleep. Chronic conditions such

as structural and neuromuscular issues can lead to slow decline in breathing quality. Also, elderly



                                                     25
patients who have recently undergone surgery may experience symptoms that are similar to those

of respiratory failure. Though they may necessitate mechanical oxygenation assistance, it is

unlikely that these conditions are sufficient for an acute respiratory failure diagnosis.

          44.    As shown in Figure 5, Baylor coded at a significantly higher rate of respiratory

failure than other hospitals. From 2011 through June 2017, across the relevant codes, Baylor coded

respiratory failure at 1.73 times the rate at other hospitals, using it on 20.54 percent of claims,

versus 11.87 percent at other hospitals. Baylor's rate of respiratory failure increases again in 2017.

Figure 5. Rate of Respiratory Failure by Year for Baylor Versus Other Hospitals.
This figure shows the rate of respiratory failure at Baylor and at other hospitals from 2011 through June
2017, when added to the suspicious principal diagnosis codes listed in Table 5 below.



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                2011       2012         2013           2014        2015         2016         2017

                                       INon-Baylor Hospitals UBaylor


                                        Specific Patterns of Fraud with Respiratory Failure

          45.    The following table provides a list of the principal diagnosis codes used by Baylor

to upcode with respiratory failure. Relator identified 56 principal diagnosis codes in conjunction

with which Baylor coded respiratory failure at a rate at least two times and/or three percentage




                                                  26
points higher than the nationwide average. Only patterns that were statistically significant at the

99.9% level, meaning virtually impossible to be due to chance, are included.

Table 5. Patterns Used by Baylor to Upcode with Respiratory Failure.
The following table lists the principal diagnosis categories in which Baylor excessively upcodes with
respiratory failure. One principal diagnosis category with fewer than 11 fraudulent claims at Baylor has
been omitted from the table.

                                           % with MCC       % with                          Num. of
                                                                         Baylor Rate
          Principal Diagnosis               in Other       MCC in         Relative to
                                                                                            Fraud
                                            Hospitals      Baylor       Other Hospitals    Claims at
                                                                                            Baylor
        Congestive Heart Failure;
                                             2 1.97%        39.5 1%             180%          835
             Nonhypertensive
         Unspecified Septicemia              25.66%         35.82%           140%             725
      Obstructive Chronic Bronchitis         17.73%         36.5 1%         206%              363
        Coronary Atherosclerosis              5.24%         23.8 1%         454%              230
       Acute Myocardial Infarction           11.27%         17.24%          153%              193
   Pneumonia; Organism Unspecified           18.97%         26.58%          140%              159
 Nonrheumatic Aortic Valve Disorders         11.68%        3 8.75%          332%              156
Hypertensive Heart and/or Renal Disease      18.27%        26.35%           144%              133
        Pulmonary Heart Disease              16.78%        30.88%           184%              130
    Fracture of Neck of Femur (hip)          4.72%          8.57%           182%              123
    Other Gram Negative Septicemia           18.04%        33.25%           184%              118
       Staphylococcal Septicemia             21.81%        36.30%           166%              78
       Other Bacterial Pneumonia             30.8 1%       34.45%           112%              76
            Atrial Fibrillation              3.07%          6.40%           208%              73
Other Diseases of the Circulatory System     6.65%          14.07%          212%              67
       Cancer of Bronchus; Lung             14.22%         23.99%           169%              65
            E. Coli Septicemia              13.02%         20.05%           154%              61
             OtherNeoplasms                  6.38%         11.94%           187%              58
        Osteoarthritis; Localized            0.67%          1.67%           249%              56
                 Epilepsy                    7.69%         15.31%           199%              54
 Aspiration Pneumonitis; Food/vomitus       27.25%         34.9 1%          128%              52
       Other Specified Septicemia           27.54%         42.86%           156%              43
        Streptococcal Septicemia            17.73%         27.55%           155%              41
                Influenza                   17.64%         29.71%           168%              41
            Other Pneumonia                 22.40%         41.26%           184%              39
Chronic Obstructive Asthma with Acute
                                            11.59%         28.77%           248%              38
              Exacerbation
Other Diseases of the Respiratory System    12.24%         20.22%           165%              37
Other Central Nervous System Disorders      7.85%          11.51%           147%              36
       Other Injury and Poisoning            4.35%          8.85%           203%              35
            Other Aneurysm                  14.48%         29.13%           201%              34
           Sickle Cell Anemia               1.86%          9.38%            505%              33
  Malfunction of Device; Implant; and
                Graft___________
                            2.98%                          6.02%            202%              32
  Other Complications of Surgical and
          Medical Procedures                 6 400/0       11   67°/0
                                                                .           1   82°/0         32
       Congestive Heart Failure             10.87%         26.24%           241%              31
  Poisoning by Other Medications and
                              14.55%                       24.42%
                Drugs_______________                                        168%              30




                                                   27
                                             % with MCC     % with                           Num. of
                                                                        Baylor Rate
              Principal Diagnosis             in Other     MCC in        Relative to
                                                                                              Fraud
                                              Hospitals    Baylor                           Claims at
                                                                       Other Hospitals
 _____________________________________ ______________ _____________ _______________          Baylor
        Substance-related Disorders        15.22%        27.46%          180%                  30
     Urinary Tract Infection; Site Not
                                            1.11%         2.51%          226%
                   Specified_____________                                                      28
          Pleurisy; Pleural Effusion           14.12%       24.05%              170%           26
    Nonrheumatic Mitral Valve Disorders        15.45%       38.89%              252%           25
     Diabetes with Other Manifestations        2.6 1%       5.29%               203%           25
    Fracture of Vertebral Column without
        Mention_ofSpinal_Cord Injury           4.11%        7.93%               193%           22
     Disorders of the Peripheral Nervous
                                  5.70%                     18.90%          331%
                   System______________                                                        22
      Empyema and Pneumothorax                 2 1.62%      34.84%              161%           20
           Pathological Fracture               3.87%        7.72%           200%               18
     Other Endocrine; Nutritional; and
     Metabolic Diseases and Immunity           3.13%        8.11%           259%               18
                  Disorders________________
      Other Complications of Internal
                                               3.78%        7.25%               192%           18
    Prosthetic_Device;_Implant;_and_Graft
  Unstable Angina (Intermediate Coronary
                                               4.58%        10.3 1%         225%               17
                Syndrome)
             Fracture of Pelvis                2.71%        6.79%           250%               16
   Other Diseases of the Nervous System
                                               3.20%        6.61%           206%               15
              and_Sense_Organs
         Other Endocrine Disorders             2.84%        7.35%           259%               14
      Secondary Malignancy of Bone             3.46%        15.00%          433%               14
  Diabetes with Circulatory Manifestations     3.08%        7.66%           248%               13
        Other Cardiac Dysrhythmias             1.96%        4.32%           220%               12
  Hemorrhage or Hematoma Complicating
                                               3.57%        8.33%           233%               12
                aProcedure
              Cancer of Pancreas               4.38%        9.66%           220%               11




        46.       Figure 6 below shows that Baylor used a higher rate of respiratory failure not just

in the few categories listed above, but across a large variety of principal diagnosis codes. The red

dots to the right of the 45-degree line indicate higher rates of respiratory failure at Baylor versus

the nationwide average. This figure shows that Baylor has a higher rate of respiratory failure for

167 out of 184 (90.76%) principal diagnosis categories. In other words, the extent to which Baylor

excessively upcoded respiratory failure on the categories listed in Table   5   above was not offset by

relative downcoding in other principal diagnosis categories.




                                                    28
Figure 6. Rate of Respiratory Failure by Principal Diagnosis Code at Baylor Versus Other Hospitals.
For the 184 principal diagnoses with at least 100 claims at Baylor (each represented by a dot), this figure
compares the rate of respiratory failure at Baylor versus non-Baylor hospitals. Red dots to the right of the
45-degree line indicate Baylor is coding respiratory failure at a rate higher than the nationwide average.


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              0%                 10%                      20%                     30%           40%
                                    Usage Percentage of Respiratory Failure at Baylor

                                             Lower at Baylor S Higher at Baylor


                                  ii.       Specific False Claims with Respiratory Failure

           47.     The Relator has identified many specific false Medicare claims submitted by Baylor

involving respiratory failure. The following table includes 50 examples.




                                                      29
Table 6. False Claims made by Baylor to Using Respiratory Failure.
The following table presents specific examples of false claims made by Baylor using respiratory failure.
The first six digits of the beneficiary ID has been removed to make it harder to identify the individual
patients.
Beneficiary                               Age!                                                    False
ID! Claim         Hospital
                             LMscharge             Principal     MCC False        DRG wI False
                                         Gender!                                                  Claim
                               Date                Diagnosis      Claim              Claim
                                          Race                                                   Amount




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Beneficiary                             Age!                                              False
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                                       Gender!                                            Claim
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                                        Race                                             Amount




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Beneficiar3'                         Age!                                                     False
ID! Claim
                          Discharge           Principal       MCC False       )RG w! False
               Hospital             Gender!                                                   Claim
    ID                      Date              Diagnosis        Claim            Claim
                                     Race                                                    Amount



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Beneficiary                                   Age!                                                     False
ID! Claim         Hospital       )ischarge                 Principal       MCC False   )RG wI False
                                             Gender!                                                   Claim
                                   Date                    Diagnosis        Claim        Claim
    ID__________                              Race                                                    Amount




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Beneficiary   1                               Age!                                                 False
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                                  Mscharge
                                             Gender!
                                                       Principal   MCC False       bRG w! False
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    ID_________
            Date                                       Diagnosis    Claim             Claim
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                                              Race                                                Amount



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__IL                             C.    Severe Malnutrition

       48.             The final Misstated MCC that Baylor used to commit fraud at a higher rate was

severe malnutrition. There are three severe malnutrition codes, listed in Table 7, that are considered

MCCs. Severe protein-calorie malnutrition in the elderly is a disorder of extreme lack of nutrition

involving the highest level of protein-energy malnutrition and protein-calorie malnutrition.

Another rare form, Kwashiorkor malnutrition, is common in Sub-Saharan Africa, and is unlikely



                                                       34
 to be present in the elderly in the United States. Nutritional marasmus is caused by insufficient

 nutrients and is most common in children. In the elderly, malnourishment can manifest for a variety

 of reasons including anorexia, dehydration, and malabsorption.

 Table 7. List of Severe Malnutrition ICD-9 and lCD-b Diagnosis Codes.
                 ICD-9 Diagnosis Code               Description
                 260                                Kwashiorkor
                 261                                Nutritional Marasmus
                 262                                Other Severe Protein-Calorie Malnutrition

                 lCD-b Diagnosis Code               Description
                 E40                               Kwashiorkor
                 E4 I                              Nutritional marasmus
                 E42                               Marasmic kwashiorkor
                 E43                               Unspecified severe protein-calorie malnutrition

         49.      Patients may initially present malnutrition signs to a healthcare provider, but the

patient may simply be underweight (and may not need to be coded as malnutrition at all), or the

condition may not be severe. If so, other codes are available for malnutrition of a moderate degree

(ICD-9 code 2630) and other protein-calorie malnutrition (ICD-9 code 2638). Kwashiorkor

malnutrition has been overdiagnosed in the past and is now usually contra-indicated in American

elderly.'2   Additionally, interventions for malnutrition can often be used that supply calories and

ameliorate the issue at a low cost, alleviating the need for tremendous resources associated with

MCC codes. Furthermore, certain emergency measures are now considered overused and often

unhelpful.

         50.     As shown in Figure 7, Baylor coded a significantly higher rate of severe

malnutrition than other hospitals. The rate was highest during the time Anthony Matejicka worked

at Baylor and is increasing again in 2017. From 2011 through June 2017, hospitals nationwide



12
    California Watch, Prime Healthcare Reports Outsized Rates of Unusual Conditions, available at
https://goo.gl/9G8MW4 (last accessed Apr. 17, 2018). Dep't of Health and Human Servs., Rex Hospital Incorrectly
Billed Medicare Inpatient Claims with Kwashiorkor, available at https://goo.gIIRbEWY7 (last accessed Apr. 17,
2018). HCPro, News: OIG Fines Another Facility for Inappropriate Kwashiorkor Claims, available at
https://goo.gl/chCT3c (last accessed Apr. 17, 2018).



                                                       35
 used severe malnutrition on 2.26 percent of claims, while Baylor used it on 7.07 percent of

 claimsor 3.14 times as often.
 Figure 7. Rate of Severe Malnutrition by Year for Baylor Versus Other Hospitals.
 This figure shows the rate of severe malnutrition at Baylor and at other hospitals from 2011 through June
 2017, when added to the suspicious principal diagnosis codes listed in Table 8 below.


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               2011         2012         2013           2014        2015         2016         2017

                                        INon-Baylor Hospitals Baylor

                                i.      Spec/Ic Patterns of Fraud with Severe Malnutrition
         51.    The following table provides a list of the principal diagnosis codes used by Baylor

to upcode with severe malnutrition. Relator identified 116 principal diagnosis codes in conjunction

with which Baylor coded severe malnutrition at a rate at least two times and/or at three percentage

points higher than the nationwide average. Only patterns that were statistically significant at the

99.9% level, meaning virtually impossible to be due to chance, are included.




                                                   36
Table 8. Patterns Used by Baylor to Upcode with Severe Malnutrition.
The following table lists the principal diagnosis categories in which Baylor excessively upcodes with severe
malnutrition. 22 principal diagnosis categories with fewer than 11 fraudulent claims at Baylor have been
omitted from the table.
                                          % with MCC        % with        Baylor Rate          Num. of
                                          Code in Other    MCC Code     Relative to Other   Fraud Claims
       Principal Diagnosis Code             Hospitals      at Baylor        Hospitals         at Baylor
        Unspecified Septicemia               5.68%          13.99%            246%               594
    FractureofNeckofFemur(hip)               1.61%          5.72%             355%               132
         Acute Renal Failure                 3.28%          6.97%             212%               122
       Congestive Heart Failure;
                                 1.18%                      3.74%             316%               122
           Nonhypertensive_____________
  Infection and Inflammation--Internal
                                             3.52%          12.74%            362/o              119
  Prosthetic Device;_Implant;_and_Graft
       Other Bacterial Pneumonia             3.66%          8.55%            234%                102
    Urinary Tract Infection; Site Not
                                 1.62%                      6.66%            411%
                Specified_____________                                                           102
 Other Diseases of the Digestive System      2.24%          8.97%            401%                100
    Other Gram Negative Septicemia           6.27%          17.98%           287%                91
            Other Neoplasms                  5.07%          13.09%           258%                84
   Pneumonia; Organism Unspecified           1.87%          5.79%            309%                82
 Aspiration Pneumonitis; Food/vomitus        5.82%          17.3 1%          297%                78
           E. Coli Septicemia                4.23%          12.44%           294%                71
         Postoperative Infection             3.21%          13.18%           410%                71
           Intestinal Infection              3.55%          10.01%           282%                66
       Staphylococcal Septicemia             7.53%          19.26%           256%                63
     Occlusion of Cerebral Arteries          0.8 1%         2.73%            338%                62
      Acute Myocardial Infarction            0.74%          2.60%            352%                60
      Other Intestinal Obstruction           2.78%          7.19%            258%                51
           Acute Pancreatitis                2.08%          8.49%            408%                51
   Peritoneal or Intestinal Adhesions        4.7 1%         17.7 1%          376%                46
      Other Specified Septicemia             7.59%          22.50%           296%                42
  Other Complications of Surgical and
                                             3.39%          10.33%           305%                42
         Medical_Procedures
Other and Unspecified Gastrointestinal
                                             355%           10.41%           294%                42
    Other Disorders of Stomach and
                              3.80%                         12.86%           339%                41
              Duodenum______________
Other Infectious and Parasitic Diseases      4.30%          15.69%           365%                41
           Cancer of Colon                   4.22%          12.12%           287%                38
       Streptococcal Septicemia              5.13%          14.01%           273%                37
 Malfunction of Device; Implant; and
                 Graft___________
                             1.13%
   Hemorrhage from Gastrointestinal
                                                            4.49%            399%                35

                                 2.52%                      8.18%            325%                35
                 Ulcer________________
    Other Secondary Malignancy              6.77%          21.55%            318%                34
      Pulmonary Heart Disease                1.53%         5.20%             339%                34
    Other Central Nervous System
                                 3.32%                      6.72%            202%                33
              Disorders________________
       Other Intracranial Injury             1.20%          4.27%            355%                32
          Atrial Fibrillation               0.62%           2.04%            330%                31
           Hyposmolality                    2.23%           6.63%            297%                30




                                                      37
                                        % with MCC        % with       Baylor Rate         Num. of
                                        Code in Other   MCC Code     Relative to Other   Fraud Claims
      Principal Diagnosis Code            Hospitals      at Baylor       Hospitals         at Baylor
     Other Peripheral and Visceral
                                   2.88%                  10.92%          379%                29
            Atherosclerosis_______________
          Cancer of Pancreas               7.99%         21.26%           266%                27
   Other Endocrine; Nutritional; and
   Metabolic Diseases and Immunity         4.03%         11.08%           275%                26
              Disorders________________
      Cancer of Bronchus; Lung             3.46%             7.35%        212%                26
Liver Abscess and Sequelae of Chronic
            Liver Disease                  4.84%         12.28%           254%               25
   Hypertensive Heart andlor Renal
                                           1.27%          2.80%           220%               25
     Other Venous Embolism and
                                1.32%                     5.85%           444%               25
             Thrombosis_______________
       Pathological Fracture               2.27%         7.10%            312%               23
           Hypovolemia                     3.58%         9.97%            278%               23
    Other Injury and Poisoning             1.10%         3.97%            362%               22
    Pleurisy; Pleural Effusion             3.00%         11.45%           382%               22
  Obstructive Chronic Bronchitis           0.96%         2.07%            216%               21
Hemorrhage of Gastrointestinal Tract       1.97%         5.98%            303%               21
              Melena                       1.59%         5.71%            358%               21
     Intracranial Hemorrhage               1.13%         4.11%            365%               20
 Other Diseases of the Circulatory
                              1.11%                      3.30%            296%
               System_______________                                                         20
      Alcohol-related Disorders            2.71%         9.30%           343%                20
            Diverticulitis                 1.42%         3.99%           282%                19
Other Fluid and Electrolyte Disorders      3.07%          7.60%          247%                19
   Acute Posthemorrhagic Anemia            2.18%         6.65%           305%                19
         Respiratory Failure               4.44%         20.34%          458%                19
           Diverticulosis                  1.03%         4.23%           412%                18
        Calculus of Bile Duct              1.36%         6.42%           474%                18
      Coronary Atherosclerosis             0.21%          1.61%          758%                17
Nonrheumatic Aortic Valve Disorders        0.64%         3.63%           568%                17
   Diseases of White Blood Cells          3.15%          10.30%          327%                17
    Noninfectious Gastroenteritis          1.34%         6.92%           516%                16
  Other Connective Tissue Disease          1.29%         4.80%           373%                16
Infective Arthritis and Osteomyelitis
                                          3 02%          7 72%           256%                16
 (except_That_Caused_by_TB_or_STD)
Other and Unspecified Liver Disorders     4.16%          17.39%          418%                15
    Diabetes with Ketoacidosis or
       Uncontrolled_Diabetes
                                           1.43%         4.16%           291%                15
   Other Complications of Internal
                                          0 98%          3   92%         401%                15
Prosthetic_Device;_Implant;_and_Graft
   Gastrointestinal Complications         5.70%          12.28%          216%                15
     Diabetes with Circulatory
                                 2.3 1%                  7.66%           331%                15
           Manifestations______________
    Cancer of Other GI Organs;
              Peritoneum                  6.49%          19.13%          295%                15
               Epilepsy                   1.05%          3.09%           294%                15
    Cellulitis and Abscess of Leg         0.92%          2.30%           251%                14
 Diabetes with Other Manifestations       1.47%          3.02%           205%                14
        Infections of Kidney              1.07%          5.06%           474%                14




                                                   38
                                         % with MCC        % with       Baylor Rate         Num. of
                                         Code in Other    MCC Code    Relative to Other   Fraud Claims
        Principal Diagnosis Code          Hospitals       at Baylor       Hospitals         at Baylor
  Other Diseases of the Nervous System
            and Sense Organs                1.37%           4.56%          332%                14
  Poisoning by Other Medications and
                                1.21%
                  Drugs______________                       5.61%          463%               13
            Decubitus Ulcer                 9.61%          22.33%          232%                13
           Aplastic Anemia                  4.32%          12.58%          291%               12
       Other Endocrine Disorders            2.82%          6.71%           238%               12
      Atherosclerosis of Arteries of
                                   0.86%                   4.42%           516%               12
               Extremities_______________
  Other Nervous System Symptoms and
                                   2.04%                   5.00%           246%               12
                Disorders________________
       Other Biliary Tract Disease          2.98%          11.27%          378%               12
       Other Esophageal Disorders           3.62%          7.72%           213%               12
    Crushing Injury or Internal Injwy       1.53%          5.63%           369%               12
            Fracture of Pelvis              1.14%          4.18%           366%               12
       Anal and Rectal Conditions           1.96%          8.24%           421%               11
       Diabetes with Neurological
              Manifestations
                                            1.27%          4.97%           390%               11
      Empyema and Pneumothorax              5.7 1%         12.90%          226%               11
    Peritonitis and Intestinal Abscess      6.7 1%         14.93%          222%               11
   Other Diseases of the Genitourinary
                                1.48%                      3.64%           246%
                 System_______________                                                        11
  Fracture of Vertebral Column without
     Mention_of Spinal_Cord Injury          1.09%          2.93%           269%               11
  Secondary Malignancy of Brain/Spine      2.2 1%          7.6 1%         345%                11
       Substance-related Disorders         0.97%           5.33%          551%                11



        52.      Figure 8 below shows that Baylor used a higher rate of severe malnutrition not just

in the few categories listed above, but across a large variety of principal diagnosis codes. The red

dots to the right of the 45-degree line indicate higher rates of severe malnutrition at Baylor versus

the nationwide average. This figure shows that Baylor has a higher rate of severe malnutrition for

173 out of 184 (94.02%) principal diagnosis categories. In other words, the extent to which Baylor

excessively upcoded severe malnutrition on the categories listed in Table 8 above was not offset

by relative downcoding in other principal diagnosis categories.




                                                     39
Figure 8. Rate of Severe Malnutrition by Principal Diagnosis Code at Baylor Versus Other Hospitals.
For the 184 principal diagnoses with at least 100 claims at Baylor (each represented by a dot), this figure
comp&es the rate of severe malnutrition at Baylor versus non-Baylor hospitals. Red dots to the right of the
45-degree line indicate Baylor is coding severe malnutrition at a rate higher than the nationwide average.




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                                 Usage Percentage of Severe Malnutrition at Baylor

                                         Lower at   Baylor Higher at Baylor


                                ii.     SpecfIc False Claims with Severe Malnutrition
         53.   The Relator has identified many specific false Medicare claims submitted by Baylor

involving severe malnutrition. The following table includes 50 examples.




                                                    40
Table 9. False Claims Made by Baylor Using Severe Malnutrition.
The following table presents specific examples of false claims made by Baylor using severe malnutrition.
The first six digits of the beneficiary ID has been removed to make it harder to identify the individual
patients.

Beneficiary                              Age!
               Hospital
                            Discharge                  Principal   MCC False       DRG wI False   False Claim
ID! Claim ID                            Gender!
                              Date                     Diagnosis    Claim            Claim         Amount
                                         Race                                  i



                                                                               I                  ___________




                                   -



                                                  I




                                                      41
 Beneficiary                           Age!
                          Discharge                  Principal   MCC False       DRG wI False   False Claim
               Hospital               Gender!
ID! Claim ID                Date                     Diagnosis    Claim            Claim          Amount
                                       Race




                                                I




                                                                             I




                                                    42
Beneficiar'                                Age!
                   Hospital   Discharge                          Principal   MCC False   DRG w! False   False Claim
ID! Claim ID                    Date      Gender!
                                                             Diagnosis        Claim        Claim         Amount
                                           Race         J




               L




                                                                                           ----
                                                    I




                                                            43
                                           Age!
Beneficiar'               Discharge                          Principal   MCC False       DRG w! False   False Claim
ID! Claim ID
               Hospital               I
                                          Gender!
                            Date                             Diagnosis    Claim            Claim         Amount
                                      I



                                      I__Race
                                                        I



                                                                                     J




                                                    I                                I




                                                            44
                2.      Alternative Hypotheses for Excessive Rates of Misstated MCCs Do
                        Not Stand and Confirm that Baylor Fraudulently Billed Medicare

        54.     To further demonstrate the Defendants' fraud and determine responsibility for the

excessively high rates of Misstated MCCs, Relator has analyzed whether the statistically aberrant

rates of Misstated MCCs described above could be attributed to a variety of other factors. First,

Relator ran a fixed effect linear regression model to control for a variety of possible explanations

for MCCs, including patient characteristics and county demographic data. Second, Relator

considered whether the patient's attending physician is responsible for the excessive MCCs by

analyzing a subset of claims where Baylor and other hospitals shared a common physician. Third,

Relator analyzed a subset of claims where Baylor and other hospitals shared common patients.

Finally, Relator analyzed the upcoding rate for Baylor and other hospitals in the same metropolitan

statistical area ("MSA") to determine whether the MCC upcoding is due to regional differences.

As discussed further below, these analyses prove that the excessive rates of Misstated MCCs can

be directly attributed to the Defendants' fraudulent activity as opposed to external factors,

indicating that the fraud was known by the system and was intentional.

                       A.      Patient Characteristics and Demographics do not Explain the
                               Excessive Rates of Misstated MCCs at Baylor

        55.     The Relator developed a proprietary linear regression model to control for the

possibility that there are certain patient characteristics which might indicate a higher likelihood a

patient would have a MCC, allowing Relator to isolate and calculate the specific impact

Defendants had on the abuse of a Misstated MCC code after controlling for other characteristics.

These characteristics include basic patient characteristics, such as the age, gender, and race, as

well as characteristics relating to the patient's inpatient stay, including principal diagnosis, length

of stay, and discharge status. Relator also used county-level demographic data, such as



                                                 45
 unemployment rate, percent of population without a high school diploma, median income, and the

 rural-urban continuum codes from the Department of Agriculture as control                    variables.'3   These

 county demographic variables provided Relator with a proxy for the income levels, education

 levels, and access to care available to each patient. Regression analysis is well established and has

 been used to pinpoint actors behind misreporting in financial and economic                contexts.14   Relator's

 regression analysis analyzed millions of claims and thousands of possible fraudulent patterns to

 calculate the total fraud committed by Baylor.

         56.      In this section, Relator employs three different regression analysis methodologies,

 each of which demonstrate how Defendant billed for the Misstated MCCs at fraudulently excessive

 rates. First, Relator uses a principal diagnosis bin-based fixed effect linear regression model to

calculate the excessive Misstated MCCs in each principal diagnosis category. Second, Relator runs

a fixed effect linear regression across all claims. Third, Relator calculates the residual for each

system and hospital to determine the unexplained rate of Misstated MCCs across all systems and

then across all hospitals.


                                   Princzal Diagnosis Bin-Based Fixed Effect Linear Regression
         57.      First, Relator continued with the principal diagnosis bin approach by running

separate regressions for each principal diagnosis category. This approach provides a number of

benefits. First, it allows for non-linear relationships so that the effect of each of the control

variables can vary between principal diagnosis codes. For example, the impact length of stay has




  The Rural-Urban Continuum Codes measure whether each county is in a metro or non-metro area and reflect the
overall size of the metropolitan area.
'4See, for example, Tomasz Piskorski, Amit Seru, and James Witkin, Asset Quality Misrepresentation by Financial
Intermediaries: Evidence from the RIvIBS Market, The Journal of Finance, Vol. 70.6 (2015), at 2635-2678; Griffin,
John M., and Gonzalo Maturana, Who Facilitated Misreporting in Securitized Loans? , Review of Financial Studies,
Vol. 29.2 (2016), at 384-419.



                                                        46
on the likelihood of an MCC might vary from one principal diagnosis code to another. Second, it

allows for the specific quantification of the defendants' impact on MCC rates for claims within

each principal diagnosis category.

         58.             Lastly, Relator included a fixed effect control variable for Baylor in the regression

model, which represents the incremental amount of excessive MCC rates at Baylor beyond what

could be explained by other variables. Equation                    1   shows the fixed effect linear regression model

used by Relator.

Equation 1. Relator's Fixed Effect Linear Regression Model.
The following equation presents the fixed effect linear regression model used by Relator. The variable of
          $,
interest is    which is the coefficient for Baylor. Panel A provides the equation, and Panel B explains the
variables included in the model. The i refers to a specific claim and] refers to the potential options for the
categorical variables.
Panel A: Fixed Effect Regression Model

  MCC1         =              + fl. Providence1 +            Age1      +     3J   Race11   +   .   Male1   + 5.log LOS1


                          +          .   Discharge1   +        Season11 +            .
                                                                                         RUCc1 +      .   Pov1   +   .
                                                                                                                         Unemp1

                          +   /.   Income1   +e

Panel B: Explanation of Regression Variables
               Variable             Description
                   /?o              Intercept
                MCC1                Whether the claim included a MCC
         Providence1                Whether the patient was treated at Baylor
                Age11               Patient's age on the claim (6 age groups)
               Race1                Patient's race on the claim (7 race categories)
               Male1                Patient's gender
                LOS1                The patient's log length of stay at the hospital for claim i
          Discharge1                The patient's discharge status
           Season11                 Season control variable for the claim (Winter, Spring, Summer, Fall)
               RUCCIJ               Patient's rural urban continuum code based on the county
                Pov1                County poverty rate in 2014
           Unemp,                   County unemployment rate in 2014
           Income,                  County log median income in 2014
                                    Error term




                                                              47
           59.      By controlling for these characteristics, the regression model allowed Relator to

 isolate the impact that being treated at a Baylor hospital would have on a patient's expected

 likelihood of being diagnosed with one of the Misstated MCCs. For example, given two patients

 with abdominal pain, with the same age and gender, from the same county, admitted during the

 same season, and with the same length of stay, the patient treated at Baylor would be 337.2 1% as

 likely to be diagnosed with encephalopathy.

          60.       The results for the Misstated MCCs are shown in Figure 9. Each bar represents the

 marginal effect of Baylor on the MCC rate relative to other hospitals within each principal

 diagnosis bin. As can be seen in Panel A for encephalopathy, the coefficients for each principle

diagnosis bin are all above 100% which indicates that encephalopathy rates are higher at Baylor,

even after controlling for other characteristics. Statistical significance of a coefficient that is less

than one in a thousand is in orange, while if the rate is even more rare at one in a million or less it

is in pink, and    if the probability that the coefficient could happen by chance is even lower at less
than one in a hundred million then the bar is in red. As can be seen in Panel A of Figure 9, 67.6%

of the bars have a probability of being due to chance of less than I in 1 million. Notably, only two

of the 37 patterns have a significance level less than 1 in              I   thousand.15


          61.      Respiratory failure is shown in Panel B, and severe malnutrition is shown in Panel

C. For respiratory failure, 69.6% of the 56 patterns are significant at less than                 1   in 100 million, and

all have a significance of at least           1   in   1   thousand. For severe malnutrition, 85.3% of the 116

patterns are significant at less than         1   in   1   million, and all 116 are significant at less than         1   in   1




15
   Even the principal diagnosis codes that were not statistically significant at less than 1 in 1,000 were still significant
at a 99% confidence level.



                                                               48
thousand. There are fewer bars for encephalopathy and respiratory failure because there are fewer

relevant patterns in which Baylor's coding of Misstated MCCs was deemed excessive. This

evidence demonstrates the excessive coding of Misstated MCCs at Baylor, even after controlling

for other characteristics.

Figure 9. Regression-Adjusted Misstated MCC Usage at Baylor Relative to Non-Baylor Hospitals for
Each Principle Diagnosis Bin.
Relator used principal diagnosis bin-based fixed effect linear regressions to analyze approximately 50
million claims at Baylor and other hospitals. The results for each principal diagnosis bin are presented in
the following figure. The vertical lines represent Baylor's marginal effect on the rate of Misstated MCCs
relative to the rate at other hospitals nationwide, where values above 100% indicate excessive MCC
upcoding. The bins are ordered from left to right consistent with the order of principal diagnosis codes in
Table 2, Table 5, and Table 8. The statistical significance is denoted by the coloring described in the legend.
All but 2 were statistically significant at less than 0.1% chance the difference is random, and most were
significant at a probability of less than 1 in 100 million.
Panel A: Encephalopathy Regression Results by Principal Diagnosis Bin



       300%



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       200%




       100%




        0%




               Mjnimum Significance Level:   flLi>    I
                                                     iöii
                                                                1             I       -I 10,®0



                                                          49
Panel B: Respiratory Failure Regression Results by Principal Diagnosis Bin
      500%




      400%




      300%




      200%




      100%




       0%




                    Minimum Significance Level:   <   -j-
                                                            I   -<      I
                                                                                1<
Panel C: Severe Malnutrition Regression Results by Principal Diagnosis Bin

     800%


      700%


     600%


     500%


     400'o


 2   300%


     200%


      100%


       0%




                                                                -<
                                                            1           1
                    Minimum Significance Level:       pj             ,000,000   I    ioo,000,000




                                                  50
                             ii.     Aggregate Fixed Effect Regression Model

          62.        Second, Relator also ran a regression to calculate the cumulative effect of Baylor's

 rate of Misstated MCCs across all claims in the relevant patterns. The same regression described

 in Equation    1   is used for this analysis, except relator runs one regression for all          of the principal
 diagnosis codes in each MCC and adds a control variable for the inpatient principal diagnosis

 category. The length of stay variable is interacted with the principal diagnosis code to account for

 variation in the expected length of stay given a principal diagnosis code.

          63.       As shown in Table 10, after controlling for other factors, the Baylor coefficient for

 the Misstated MCCs is 0.0885. This means that 8.85 percent of Baylor claims are coded with one

of the Misstated MCCs when they would not have been coded as such at another hospital. Given

the baseline usage rate of the Misstated MCCs at other hospitals is 10.27 percent, Baylor's

calculated rate of Misstated MCCs is 19.12 percent. In other words, Baylor's usage rate of the

Misstated MCCs is 186.17% that of other hospitals, even after controlling for patient, medical, and

demographic characteristics. This result is statistically significant with more than 99.9999 percent

confidencei.e., almost certainly not random.
         64.        Not surprisingly, the individual coefficients for encephalopathy, respiratory failure,

and severe malnutrition are also large in magnitude. Baylor's usage rate for encephalopathy was

151.88% of the rate at other hospitals, respiratory failure was 167.17%, and severe malnutrition

was 315.56%.16




16
  For robustness analysis, Relator also considered the possibility that certain surgical procedure codes or admission
sources (such as being admitted from the emergency room) might explain the higher rates of Misstated MCCs at
Baylor. Relator ran the fixed-effect regression analysis while also including controls for surgical procedures and
admission source. With these coefficients, Baylor's rate of Misstated MCCs was 168.27% relative to other non-Baylor
hospitals. Similarly, the Baylor Systems' usage rate for encephalopathy was 148.24% of the rate at non-Baylor
hospitals, respiratory failure was 13 8.69%, and severe malnutrition was 318.08%.



                                                        51
 Table 10. Results of Fixed Effect Linear Regression Model.
 Relator used the fixed effect linear regression discussed in Equation 1, except instead of running individual
 regressions for each principal diagnosis bin, Relator ran one regression for each Misstated MCC and
 included a control variable for the individual principal diagnosis categories. Relator analyzed approximately
 50 million claims at Baylor and other hospitals. The results are presented in the following table. The
 coefficient is listed first and the p-value is in parenthesis, which represents the statistical significance of the
 coefficient. A lower p-value means the result is more statistically significant. Coefficients were not included
 for categorical variables. The Baylor coefficient is added to the rate at other hospitals to get the expected
 Baylor rate of excessive MCCs after including controls.

                                               Any of the                              Respiratory        Severe
                                                MCCs
                                                                 Encephalopathy
                                                                                        Failure       Malnutrition
                                                  -0.001              -0.0014            -0.0017          0.0003
                  Poverty Rate
                                                (<0.0001)            (<0.0001)          (<0.0001)       (<0.0001)
                                                 -0.0014              0.0011             -0.0019         -0.0006
              Unemployment Rate
                                                (<0.0001)           (<0.000 1)          (<0.0001)       (<0.0001)
                                                 -0.0469             -0.0459             -0.0648         -0.003 8
             Log (Median Income)
                                                (<0.0001)           (<0.0001)           (<0.0001)       (<0.0001)

         No High School Diploma Rate             -0.0008             -0.0006             -0.0009         -0.0001
                                                (<0.0001)           (<0.0001)           (<0.0001)       (<0.0001)
                                                  0.363               0.4586             0.5006          -0.0059
                    Intercept
                                                (0.1956)             (0.1099)            (0.179)         (0.9772)
               Principal Diagnosis                Yes                  Yes                 Yes             Yes
       Principal Diagnosis X Log(L0S17)           Yes                  Yes                 Yes             Yes
            Season Control Variables              Yes                  Yes                 Yes             Yes
             Age Control Variables                Yes                  Yes                 Yes             Yes
              Sex Control Variables               Yes                  Yes                 Yes             Yes
             Race Control Variables               Yes                  Yes                 Yes              Yes
            Discharge Status Control               Yes                  Yes                Yes              Yes
          Principal Diagnosis Category             Yes                  Yes                Yes              Yes
                 RUCC Control                      Yes                 Yes                 Yes              Yes
               Baylor Coefficient                0.0885               0.0524             0.0800           0.0485
                                               (<0.0001)            (<0.0001)          (<0.0001)        (<0.0001)
              Nationwide Average                 10.27%              10.10%              11.91%          2.25%

                  Baylor Rate                   19.12%               15.34%             19.91%           7.10%
        Baylor Rate Relative to Other
                                                186.17%             151.88%             167.17%         315.56%
                 Hospitals




17
     LOS stands for length of stay.



                                                          52
                           iii.       System and Hospital Residuals for Misstated MCCs

          65.      Third, another regression method to analyze Baylor's coding of Misstated MCCs

 is to calculate the unexplained rate of Misstated MCCs attributed to Baylor claims. To calculate

 this, Relator ran the regression without the fixed effect control variable for Baylor and calculated

 the probability each claim would have one of the Misstated MCCs. For each hospital system and

 for each individual hospital, the average difference between the predicted probability (or rate) of

 Misstated MCCs is compared to the actual rate of Misstated MCCs, which is referred to as a

 residual. The difference between these two values represents the rate of Misstated MCCs that is

 caused by each hospital system, after controlling for the other characteristics previously described.

Panel A of Figure 10 shows the average residual for rate of Misstated MCCs for each hospital

system, with Baylor plotted in red. Baylor's average unexplained rate of Misstated MCCs by this

measure is 8.80%, making it 7th highest out of 737 hospital systems with at least 10,000 claims in

the relevant patterns. Panel B of Figure 10 shows the average residual of each individual hospital,

with Baylor hospitals plotted in red. The average residual of the Baylor hospitals ranges from

6.56% to 9.72%, and the           3   Baylor   hospitals'8   are in the top 90th percentile of hospitals for

unexplained rate of Misstated MCCs.




 18
    Relator only alleges that Baylor University Medical Center Dallas has been excessively using encephalopathy, so
this hospital has been left out of this analysis which is based on any of the three Misstated MCCs. However, it is
among the highest hospitals by rate of encephalopathy and including it in this calculation would only further
demonstrate Baylor's fraudulent activity.



                                                        53
Figure 10. Average Unexplained Misstated MCC Rate for Each Hospital System and Individual
Hospital.
The following figure plots the results of the regression from Equation 1, except one regression was run for
all principal diagnosis bins, the control variable for principal diagnosis code was added to the regression,
and the Baylor fixed effect variable was removed. All other variables included are the same. The graph in
Panel A is based on 737 hospital systems with at least 10,000 claims from 2011 through June 2017. The
graph in Panel B is based on 3,220 hospitals with at least 500 claims during the same time period. The small
vertical lines off of the points represent the confidence interval for each system's unexplained use of
Misstated MCCs.
Panel A: Average Residual ofAny ofthe Misstated MCCs for Hospital Systems

        15%



        10%



         5%




        -5%



       -10%




                                                    Percentile
                                             Non-Baylor Systems   *   Baylor


Panel B: Average Residual ofAny ofthe Misstated MCCs for Individual Hospitals

       20%

   Q    l5-


        10%

   1
        0%

        -5%

       -10%

       -15%

       -20%

       -25%




                                        Non-Baylor Hospi%a   Baylor Hospital




                                                   54
        66.     Taken together, Relator's regression analysis shows that the excessive rates of

Misstated MCCs were not due to unique patient demographic or health characteristics, but were

 specifically caused by the Defendants' practices.

                        B.     Attending Physicians are not Responsible for the Excessively
                               High Rates of Misstated MCCs

        67.     Relator also considered whether the excessively high rates of Misstated MCCs

could be caused by the preferences or treatment decisions of physicians who work with patients at

Baylor hospitals, as opposed to some system-wide decision or corporate directive. Could it be that

the physicians who attended to Baylor's patients were more disposed to identifiing

encephalopathy, respiratory failure, and severe malnutrition than other physicians? To address this

question, Relator analyzed a subset of claims involving doctors that treated patients at both Baylor

and other hospitals.

        68.    As shown in Figure 11, when considering only claims for doctors with at least 10

claims at both Baylor and other hospitals, the use of encephalopathy, respiratory failure, and

malnutrition was still significantly higher at Baylor. Between 2011 and 2017, doctors used one of

the Misstated MCCs on 19.57 percent of claims while treating patients at Baylor, but on only 1 1.80

percent of claims when treating patients at other hospitals.




                                                55
Figure 11. Rate of Any of The Misstated MCCs at Baylor Relative to Other Hospitals for Claims with
Common Doctors.
The following figure includes any claims for common doctors between Baylor and another hospital from
2011 through 2017. Even with doctors that work at both hospitals, Baylor used one of the Misstated MCCs
on 19.57 percent of claims, while those same doctors only use one of the Misstated MCCs on 11.80 percent
of claims while at other hospitals. The analysis is based on 195 doctors with 10 claims at Baylor and 10
claims at a non-Baylor hospital. In total these doctors had more than 25,000 claims at Baylor and more than
47,000 claims at other hospitals.

      20%



 0
      15%




      10%




 F
      0%

                            NoBayIor   Hospitals                               Baylor


                                               INon-Baylor Hospitals UBaylor

        69.     Figure 12 shows that this tendency to have higher rates of Misstated MCCs at

Baylor is not limited to a few doctors but is systemic. In the following figure, doctors with the

same rate of Misstated MCCs at Baylor and other hospitals would be clustered along the 45-degree

line, whereas doctors with higher rates of Misstated MCCs at Baylor would be to the right of the

45-degree line. As shown in Figure 12, 147 out of 195 doctors (or 75.4 percent) had a higher coding

rate of the Misstated MCCs at Baylor than at other hospitals.




                                                       56
 Figure 12. Rate of Any of the Misstated MCCs for Common Doctors at Baylor Versus Other
 Hospitals.
 The following figure compares the rate of Misstated MCCs for common doctors at Baylor versus other
 hospitals. In the graph, the red circles to the right of the 45-degree line represent doctors who have higher
 upcoding at Baylor and the blue circles represent doctors who have higher upcoding at other non-Baylor
 hospitals.




        70.     This result still holds when looking just at the individual Misstated MCCs. For

doctors that serve at both Baylor and other hospitals, the rate of encephalopathy at Baylor was

13.23 percent, while the rate        of encephalopathy at other hospitals was 9.97 percent, as

demonstrated in Figure 13 below. This indicates that a doctor was 132.7% as likely to diagnosis a




                                                    57
 patient with encephalopathy when treating the patient at Baylor than when the same doctor was

 treating a patient at another            hospital.'9


 Figure 13. Rate of Encephalopathy at Baylor Relative to Other Hospitals for Claims with Common
 Doctors.
 The following figure includes any claims for doctors with at least 10 claims at Baylor and 10 claims at a
 non-Baylor hospital from 2011 through June 2017. Even with doctors that work at both hospitals, Baylor
 had an encephalopathy rate of 13.23 percent, while those same doctors only use encephalopathy on 9.97
 percent of claims while at other hospitals. The analysis is based on 162 doctors with 10 claims at Baylor
 and 10 claims at a non-Baylor hospital. In total these doctors had more than 12,000 claims at Baylor and
 more than 16,000 claims at other hospitals.




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     0
               c)




                      0%

                                      Non-Baylor Hospilals                             Baylor



                                                         Non-Baylor Hospitals Baylor

                       71.   Figure 14 shows that a significant number of doctors had higher rates of

encephalopathy when they worked at Baylor than at other hospitals. Specifically, it shows that 115

doctors out of 162 doctors considered (or 71 percent) had a higher rate at Baylor.




19
  This general trend still holds when looking at any doctor that has at least one claim at Baylor and one claim at a
non-Baylor hospital. Specifically, the rate of encephalopathy is 14.23% at Baylor and 11.06% at other hospitals.



                                                                58
 Figure 14. Rate of Encephalopathy for Common Doctors at Baylor Versus Other Hospitals.
 The following figure compares the rate of encephalopathy for common doctors at Baylor versus other
 hospitals. In the graph, the red circles to the right of the 45-degree line represent doctors who have higher
 upcoding of encephalopathy at Baylor and the blue circles represent doctors who have higher upcoding at
 other non-Baylor hospitals.




        72.     For doctors that serve at both hospitals, the rate of respiratory failure at Baylor was

21.9 percent, while the rate of respiratory failure at other hospitals was 14.0 percent, as

demonstrated in Figure 15 below. This suggests that a doctor was 156.4% as likely to diagnosis a




                                                    59
patient with respiratory failure when treating the patient at Baylor than when the same doctor was

treating a patient at a non-Baylor hospital.2°

Figure 15. Rate of Respiratory Failure at Baylor Relative to Other Hospitals for Claims with
Common Doctors.
The following figure includes any claims for doctors with at least 10 claims at Baylor and 10 claims at a
non-Baylor hospital from 2011 through June 2017. Even with doctors that work at both hospitals, Baylor
had a respiratory failure rate of 21.9 percent, while those same doctors only use respiratory failure on 14.0
percent of claims while at other hospitals. The analysis is based on 154 doctors with 10 claims at Baylor
and 10 claims at a non-Baylor hospital. In total these doctors had more than 16,000 claims at Baylor and
more than 27,000 claims at other hospitals.



      20%




       15%




       10%




       5%




       0%

                               Non-Baylor Hospitals                                   Baylor


                                                  Non-Baylor Hospitals UBaylor

         73.      Figure 16 shows that a significant number of doctors had higher rates of respiratory

failure when they worked at Baylor than at other hospitals. Specifically, the figure shows that 110

out of 154 doctors considered (or 71.4 percent) had a higher rate at Baylor.




20
  This general trend still holds when looking at any doctor that has at least one claim at Baylor and one claim at a
non-Baylor hospital. Specifically, the rate of respiratory failure is 21.83% at Baylor and 13.41% at other hospitals.
 Figure 16. Rate of Respiratory Failure for Common Doctors at Baylor Versus Other Hospitals.
 The following figure compares the rate of respiratory failure for common doctors at Baylor versus other
 hospitals. In the graph, the red circles to the right of the 45-degree line represent doctors who have higher
 upcoding of respiratory failure at Baylor and the blue circles represent doctors who have higher upcoding




        74.     For doctors that serve at both hospitals, the rate of severe malnutrition at Baylor

was 6.32 percent, while the rate of severe malnutrition at other hospitals was 2.73 percent, as

demonstrated in Figure 17 below. This indicates that a doctor was 231.5% as likely to diagnosis a




                                                    61
     patient with severe malnutrition when treating the patient at Baylor than when the same doctor was

     treating a patient at a non-Baylor hospital?'

     Figure 17. Rate of Severe Malnutrition at Baylor Relative to Other Hospitals for Claims with
     Common Doctors.
 The following figure includes any claims for doctors with at least 10 claims at Baylor and 10 claims at a
 non-Baylor hospital from 2011 through June 2017. Even with doctors that work at both hospitals, Baylor
 had a severe malnutrition rate of 6.32 percent, while those same doctors only use severe malnutrition on
 2.73 percent of claims while at other hospitals. The analysis is based on 161 doctors with 10 claims at
 Baylor and 10 claims at a non-Baylor hospital. In total these doctors had 23,541 claims at Baylor and 40,096
 claims at other hospitals.


           6%

      0
      0

      0'
           J4%




           2%




     1<
           0%

                               Non-Baylor Hospitals                                  Baylor


                                                  INon-Baylor Hospitals IBaylor

             75.   Figure 18 shows that a significant number of doctors had higher rates of severe

malnutrition when they worked at Baylor than at other hospitals. For example, the figure shows

that 123 doctors out of 161 doctors considered (or 76.4 percent) used a higher rate at Baylor.




21
  This general trend still holds when looking at any doctor that has at least one claim at Baylor and one claim at a
non-Baylor hospital. Specifically, the rate of severe malnutrition is 6.81% at Baylor and 2.64% at other hospitals.



                                                          62
Figure 18. Rate of Severe Malnutrition for Common Doctors at Baylor Versus Other Hospitals.
The following figure compares the rate of severe malnutrition for common doctors at Baylor versus other
hospitals. In the graph, the red circles to the right of the 45-degree line represent doctors who have higher
upcoding of severe malnutrition at Baylor and the blue circles represent doctors who have higher upcoding




        76.     Relator identified the specific doctors that had higher rates of severe malnutrition

at Baylor relative to other hospitals. Table   11   below lists the ten doctors with the largest disparity

in severe malnutrition rates when they worked at Baylor compared to when they worked at other




                                                     63
 hospitals. Each of these doctors coded severe malnutrition at a rate at least six times higher when

 at Baylor.22

 Table 11. Doctors with the Most Excessive Rates of Severe Malnutrition at Baylor Versus Other
 Hospitals.
 This table shows the difference in severe malnutrition usage for the ten doctors with the highest difference
 in severe malnutrition usage at Baylor versus other hospitals. The first seven digits of the physician ID have
 been hidden by Relator so the specific physician will not be identifiable directly from this complaint.
                     Percent of Claims                                               Baylor Rate
                        wI Severe        Percent of Claims w/                        Relative to
                      Malnutrition at    Severe Malnutrition Difference in              Other
     Physician ID         Baylor          at Other Hospitals   Percent                Hospitals        P-Value
 XXXXXXXO31               23.08%                 3.12%               19.95%             738%            0.0069
 XXXXXXX293               20.00%                 1.11%               18.89%            1,800%           0.0052
 XIXXXXXXI84              17.39%                 0.00%               17.39%            Infinity        <0.0001
 XXXXXXX94O               17.53%                 0.94%               16.59%            1,858%          <0.0001
 XXXXXXX494               17.42%                 1.53%              15.89%             1,142%          <0.0001
 XXXXXXX278               16.00%                 1.19%              14.81%             1,345%          0.0002
 XXXXXXX253               16.81%                 2.34%              14.47%              720%           <0.0001
XXXXXXX159                16.15%                 2.63%              13.52%              614%           <0.0001
XXXXXXX569                13.48%                 0.00%              13.48%             Infinity        <0.0001
XXXXXXX3O1                15.38%                 2.13%              13.26%              723%           0.0302


           77.      Relator also re-ran the regression analysis for the subset of claims that have at least

 10 claims by a doctor at Baylor and a non-Baylor hospital.23            Relator used the same controls from

the regression described in section IV.D.2.A above, along with a control for the doctor that treated

the patient. This allows Relator to quantif' the marginal impact a patient being treated at Baylor

has on a patient being diagnosed with a Misstated MCC, beyond what can be explained by patient

characteristics, demographic characteristics, as well as the individual doctor. As shown in Table




22
  Relator only included the results for severe malnutrition because it has the most claims among the Misstated MCCs,
providing the most thorough comparison.
23
  More than 63,000 claims for severe malnutrition and more than 73,000 claims for Misstated MCC were included
in this regression. Severe malnutrition was the only specific Misstated MCC in which Relator ran the regression
because it had the largest number of claims.




                                                         64
     12, Baylor's rate of any MCC, after these controls, was 155.93 percent of the rate at other hospitals,

     and Baylor's severe malnutrition rate was 231.14 percent of the rate at other hospitals.24

     Table 12. Fixed Effect Regression Results After Controlling for Attending Physician.
     Relator used a linear regression to analyze approximately 73,000 claims with common doctors at Baylor
     and other hospitals. The results are presented in the following table. The coefficient is listed first and the p-
     value is in parenthesis, which represents the statistical significance of the coefficient. A lower p-value
     means the result is more statistically significant. Coefficients were not included for categorical variables.

                                                               Any Misstated MCC          Severe Malnutrition

                             Poverty Rate                             -0.002                         0
                                                                      (0.003)                    (0.9365)

                         Unemployment Rate                            -0.0041                    -0.0019
                                                                      (0.0111)                   (0 .0776)

                        Log (Median Income)                           -0.0466                    -0.022 1
                                                                      (0.02 16)                  (0.092)

                    No High School Diploma Rate                       0.0006                      -0.0004
                                                                     (0.1692)                    (0.1403)

                              Intercept                               0.5243                      0.2651
                                                                     (0.0299)                    (0.0883)
                          Principal Diagnosis                           Yes                         Yes
                  Principal Diagnosis X Log (LOS25)                     Yes                         Yes
                       Season Control Variables                         Yes                         Yes
                        Age Control Variables                           Yes                         Yes
                         Sex Control Variables                          Yes                         Yes
                        Race Control Variables                          Yes                         Yes
                   Discharge Status Group Controls                      Yes                         Yes
                Principal Diagnosis Category Controls                   Yes                         Yes
                            RUCC Control                                Yes                         Yes
                       Doctor Control Variables                        Yes                         Yes
                         Baylor Coefficient                           0.0660                      0.0358
                                                                    (<0.0001)                   (<0.0001)
                        Nationwide Average                            11.80%                     2.73%

                            Baylor Rate                              18.40%                      6.31%
                       Baylor Relative Effect                        155.93%                    231.14%




24
   Relator also considered whether the behavior of these doctors is due to their tendency to provide certain procedures
at certain hospitals. To do this, Relator also added control variables for the procedure codes and the admission status
to identify admissions as from the emergency room, elective, or urgent. For any Misstated MCC and for severe
malnutrition, the coefficients were 0.0505 and 0.0358 respectively. In other words, Baylor's rate of Misstated MCC
was 142.80 percent of other hospitals, and rate of severe malnutrition was 231.14 percent of other hospitals among
claims with common doctors.
25
     LOS stands for length of stay.



                                                          65
        78.     This analysis shows that the fraudulent upcoding was not caused by tendencies of

 certain doctors that treat patients at Baylor but was instead caused by clinical documentation and

 coding practices that were implemented specifically at Baylor.

                        C.     Unique Characteristics of Baylor's Patients do not Account for
                               the Excessively High Rates of Misstated MCCs
        79.     Relator also considered whether it might be something else about Baylor patients

that would justify the higher rates of MCCs. Although Relator already considered a variety of

patient characteristics in the fixed effect linear regression model, Relator also analyzed the subset

of patients that attended both Baylor and at least one other hospital between 2011 and 2017, and

then compared the rate of the MCC codes used when these patients were treated at Baylor versus

when treated at other hospitals.

        80.    As shown in Figure 19, when only analyzing patients that have at least 5 claims at

both Baylor and other hospitals, the use of encephalopathy, respiratory failure, and malnutrition

was still significantly higher at Baylor. Between 2011 and 2017, patients were diagnosed with one

of the Misstated MCCs on 25.38 percent of claims while being treated at Baylor, but on only 13.38

percent of claims at other hospitals. A patient being treated at Baylor was coded with the Misstated

MCCs at a rate that was 189.7% the rate at other non-Baylor hospitals.
Figure 19. Rate of Any of The Misstated MCCs at Baylor Relative to Other Hospitals for Claims with
Common Patients.
The following figure includes any claims for common patients between Baylor and a non-Baylor hospital
from 2011 through June 2017. Even with patients at both hospitals, Baylor used one of the Misstated MCCs
on 25.38 percent of claims, while those same patients only have one of the Misstated MCCs on 13.38
percent of claims while at other hospitals. The analysis is based on 155 patients with 5 claims at Baylor and
5 claims at a non-Baylor hospital. In total these patients had 1,430 claims at Baylor and 1,547 claims at
other hospitals.

      25%


 0
 U
      20%




 U    10%




       5%




       0%

                             Non-Baylor Hospitals                                Baylor


                                                UNon-Baylor Hospitals U Baylor

        81.        Figure 20 shows a significant number of patients had higher rates of Misstated

MCCs when treated at Baylor. Dots to the right of the 45-degree line indicate the patient was coded

with higher rates of the Misstated MCCs at Baylor than at other hospitals. The graph shows that

107 out of 155 patients considered (or 69.0 percent) had a higher usage rate of the Misstated MCCs

at Baylor than at other hospitals. This indicates the behavior is not limited to a few patients but is

systemic.




                                                         67
 Figure 20. Rate of Any of the Misstated MCCs for Common Patients.
 The following figure compares the rate of Misstated MCCs for common patients at Baylor versus other
 hospitals. The red dots to the right of the 45-degree line represent patients who have higher rates of
 Misstated MCCs at Baylor and the blue dots represent patients who have lower rates of Misstated MCCs at
 Baylor. The size of the dot corresponds to the number of claims the patient had at Baylor.




         82.      This result still holds when looking at just severe          malnutrition.26   For patients that

were at both hospitals, the rate of severe malnutrition at Baylor was 21.36 percent, while the rate

of severe malnutrition at other hospitals was          7.91 percent, as demonstrated in Figure 21 below.



26
          oniy included the results for severe malnutrition as it was the only Misstated MCC with a sufficient number
of claims and common patients to conduct this analysis.
 This suggests that a patient was 270% as likely to diagnosis a patient with severe malnutrition

 when treating the patient at Baylor than when the same patient was treating a patient at a non-

 Baylor hospital.27

 Figure 21. Rate of Severe Malnutrition at Baylor Relative to Other Hospitals for Claims with
 Common Patients
 The following figure includes any claims for patients with at least 5 claims at Baylor and 5 claims at a non-
 Baylor hospital from 2011 through June 2017. Even with patients that are treated at both hospitals, Baylor
 had a severe malnutrition rate of 21.36 percent, while those same patients only use severe malnutrition on
 7.91 percent of claims while at other hospitals. The analysis is based on 71 patients with 5 claims at Baylor
 and 5 claims at a non-Baylor hospital. In total these patients had 618 claims at Baylor and 746 claims at
 other hospitals.


             2


     0




             l0o/o




         0

              5%
     1<

             0%

                                 Non-Baylor Hospitals                                 Baylor



                                                    INon-Baylor Hospitals   Baylor

                 83.   Figure 22 shows that a significant number of patients had higher rates of severe

malnutrition when they worked at Baylor than at other hospitals. For example, Panel A shows that

54 patients out of 71 patients considered (or 76.1 percent) used a higher rate at Baylor.




27
  This general trend still holds when looking at any patient that has at least one claim at Baylor and one claim at a
non-Baylor hospital. Specifically, the rate of severe malnutrition is 38.1% at Baylor and 12.3% at other hospitals.
 Figure 22. Rate of Severe Malnutrition for Common Patients
 The following figure compares the rate of Severe Malnutrition for common patients at Baylor versus other
 hospitals. The red dots to the right of the 45-degree line represent patients who have a higher rate of Severe
 Malnutrition at Baylor and the blue dots represent patients who have lower rates of Severe Malnutrition at




        84.     As this analysis shows, even when looking at the same patient, Baylor has

significantly higher rates of Misstated MCCs than other hospitals. This shows that the upcoding

behavior cannot be attributable to patient differences.




                                                     70
                         D.         Regional Factors do not Explain Why Baylor Has Higher
                                    Rates of MCCs
         85.     Relator also considered whether the high rates of MCC upcoding at Baylor

hospitals might be due to the region in which Baylor's hospitals are located. Although Relator has

already controlled for a variety of county demographic factors through the regression, Relator now

compares the rate of Misstated MCCs between Baylor and other hospitals within each MSA.

         86.     As shown in Table 13, Baylor had a significantly higher rate of Misstated MCCs in

each MSA, with one MSA showing a rate more than twice as high at Baylor. As shown in Table

14, Baylor had a higher rate    of encephalopathy than other hospitals in each MSA, with only one

region (Killeen-Temple, TX) having a difference of less than seven percentage points. Table                 15


and Table 16 show that Baylor had higher rates of respiratory failure and severe malnutrition,

respectively, in each of the MSAs.

Table 13. Rate of Misstated MCCs at Baylor Versus Other Hospitals in the Same MSA.
This table compares the rate of Misstated MCCs in the suspicious patterns for the hospitals in Baylor and
other hospitals within the same geographic region.

                                        I
                                                                             Baylor Rate
                                            Baylor MCC         Nationwide  Relative to Other
                MSA                         I
                                               Rate            MCC Rate ______Hospitals
       Austin-Round Rock, TX                     15.93%         9.35%             170%          <0.0001
        Killeen-Temple, TX                       20.73%         14.75%            141%          <0.0001
              Waco, TX                           18.00%         8.85%             203%          <0.000 1

Table 14. Rate of Encephalopathy at Baylor Versus Other Hospitals in the Same MSA.
This table compares the encephalopathy rate of the suspicious patterns for the hospitals in Baylor and other
hospitals within the same geographic region.
                                          Baylor             Nationwide        Baylor Rate
                                       Encephalopa         Encephalopathy    Relative to Other
                MSA                     -thy Rate               Rate            Hospitals      Frobabilit
      Austin-Round Rock, TX                     13.75%          7.41%             186%           <0.0001
  Dallas-Fort Worth-Arlington, TX               17.59%          11.47%            153%           <0.0001
        Killeen-Temple, TX                      14.78%          14.69%            101%            0.3573
              Waco, TX                          12.20%           1.29%            944%           <0.0001




                                                          71
Table 15. Rate of Respiratory Failure at Baylor Versus Other Hospitals in the Same MSA.
This table compares the respiratory failure rate of the suspicious patterns for the Baylor hospitals and other
hospitals within the same geographic region.
                                          Baylor                         Baylor Rate
                                                                            I




                                        Respiratory    Nationwide
                                                                          Relative to
                                         Failure    Respiratory Failure                 Probabilit
                                                                        Other Hospitals
                MSA                        Rate            Rate                             y
        Austin-Round Rock, TX             16.62%              10.64%               156%        <0.0001
         Killeen-Temple, TX               22.04%              18.44%               120%        <0.0001
               Waco, TX                   18.94%              11.91%               159%        <0.0001


Table 16. Rate of Severe Malnutrition at Baylor Versus Other Hospitals in the Same MSA.
This table compares the severe malnutrition rate of the suspicious patterns for the Baylor hospitals other
hospitals within the same geographic region.
                                     Baylor          Nationwide
                                                                       laylor Rate Relative
                                   Malnutrition      Malnutrition      to Other Hospitals
            MSA                                                                                P-value
    Austin-Round Rock, TX              5.12%               2.42%                212%          <0.0001
     Killeen-Temple, TX                7.59%               2.15%                353%          <0.0001
           Waco, TX                    7.07%               1.47%                482%          <0.000 1


        87.      Based on this regional analysis, Relator has shown that the fraudulent upcoding

cannot be attributed to geographic factors unique to Baylor.

                         E.       Summary of Determining What Caused Excessively High
                                  Rates of Misstated MCCs at Baylor

        88.      Relator has considered a number of potential explanations above to determine what

phenomenon or which actor could be responsible for the excessively high rates of Misstated MCCs

at Baylor. The excessively high rates are highly significant across 133 principal diagnosis

categories and 4 Baylor hospitals, indicating that it is not driven by particular patient medical

characteristics nor unique to only a few Baylor hospitals. Relator eliminated the possibility that

the high Misstated MCC rates might be justified by or due to patient or demographic

characteristics, attending physician preferences, or regional differences. Based on this, Relator has

demonstrated that the only plausible explanation as to the cause of the excessively high rates of

Misstated MCCs is that Baylor has implemented practices to maximize the amount of revenue it




                                                      72
can receive from Medicare by fraudulently upcoding, i.e., adding unsubstantiated MCC secondary

diagnosis codes to its claims.

                 3.       Economic Damages

          89.    Relator employed a robust and conservative methodology to quantify the economic

damages caused by the Defendants' fraudulent coding encephalopathy, respiratory failure, and

severe malnutrition. Relator has limited this complaint to only the most extreme casesi.e., where

Baylor used a Misstated MCC code at two times the rate of comparable hospitals or at least three

percentage points of its entire patient population higher than other hospitals. Additionally, only

principal diagnosis bins where the excessive MCC usage rate was statistically significant at a

99.9%     rateor      almost certainly not      randomwere considered fraudulent. The following
describes Relator's methodology for aggregating the total dollar value of the fraud committed by

Baylor.

          90.    Relator employs a principal diagnosis bin-based regression methodology for

calculating damages. For each principal diagnosis bin, Relator re-ran its fixed effect linear

regression model discussed in Equation           1   but changed the dependent variable to represent the

additional revenue due to upcoding. For each claim, Relator calculated the difference in the DRG

weight between claims with Misstated MCCs and claims without Misstated MCCs.28 Relator then

multiplied this difference in weights by Baylor's average base rate from 2011 through 2017, which

was $5,554.01.29 Within the regression for each principal diagnosis bin, the fixed effect for Baylor



28
  For claims that could have been a complication or without complication, Relator took a weighted average of DRG
weights for the two DRGs and was weighted by Baylor's historical distribution of severity levels. Approximately
14.1% of claims were without complication and 85.9% of claims were with complication. If Baylor also upcodes using
CC secondary diagnoses, the damage calculation would be even more conservative.
29
   The labor portion of the base rate was adjusted by the average wage index among Baylor hospitals from 2011
through 2017, and the capital portion was adjusted by the geographic adjustment factor over the same time period, to
get a more accurate calculation of additional revenue.



                                                        73
represents the additional revenue Baylor receives for the misstated MCCs after controlling for

possible differences in patient, regional, and claim characteristics. Relator further only attributed

damages for the regression results that were statistically significant at a 99.9% level, meaning there

is a less in   1   in 1,000 chance the additional revenue received is due to random chance.

        91.         Based on this bin-based regression, Relator's analysis shows that Baylor received

an additional $61.8 million in false claims across all principal diagnosis categories due to

fraudulent MCC upcoding. Table 17 demonstrates the additional revenue Baylor received for false

claims across each of the Misstated MCCs.

Table 17. Damages by Specific Misstated MCCs.

                     Hospitals              Secondary MCC            Dollar Value of Fraud
          Temple, Round Rock,
                                             Encephalopathy                        $11,538,368
            Waco, and Dallas
        Temple, Round Rock, and
                                           Respiratory Failure                     $26,998,225
                 Waco
        Temple, Round Rock, and
                                           Severe Malnutrition                     $23,258,777
                 Waco
                                                  Total                            $61,795,370

        92.         Relator's bin-based regression methodology represents a conservative approach for

a variety of reasons. First, Relator only included principal diagnosis bins where Baylor used the

Misstated MCC code at two times the rate of comparable hospitals or at least three percentage

points of the entire patient population higher. A lower threshold could have been used and would

result in higher damages. Additionally, Relator only considered claim groupings where there was

less than a one-in-a-thousand chance that the difference in major complication rate at Baylor versus

other hospitals was due to random causes.

        93.         Second, Relator's damage calculation is based on comparing Baylor to all other

inpatient hospitals. To the extent other hospitals are engaging in the same fraudulent activity, it

would make Baylor's actions seem relatively normal and would thus lead to a lower damage


                                                     74
 estimate.30    Indeed it is overly conservative to compare Baylor's fraudulent behavior to other

 hospitals also engaging in the same fraudulent activity; therefore Relator also undertook a different

 methodology to identify hospital systems based on the amount of fraudulent activity they have

 among all of their claims. If Relator were to remove from comparison the top third of hospital

 systems identified to have excessively billed Medicare and re-run the bin-based regression

 analysis, damages would total $72 million.

          94.       Relator's consideration of other possible explanations, such as                           claim

 characteristics, patient characteristics, and doctor practices, demonstrates that the excessive coding

 of Misstated MCCs is due to system-wide practices in place at Baylor. Additionally, the extremely

 high levels of statistical significance of the analyses across a variety of comparative settings

 indicate a nearly impossible probability that the practices are due to random chance. Relator's

 damages estimate of $61.8 million due to Baylor's fraudulent upcoding is conservative and the

estimate is robust when controlling for a variety of factors.

V.       CAUSES OF ACTION

                                            COUNT ONE
                    Violation of the Federal False Claims Act, 31 U.S.C. § 3729(a)
                                       (Against All Defendants)

         95.      Relator repeats and realleges each and every allegation contained above as if fully

set forth herein.

         96.      As described above, Defendants have submitted and/or caused to be submitted false

or fraudulent claims to Medicare by falsifying material information concerning patient diagnoses,




 ° As an
         example, the comparison set of hospitals includes Prime Healthcare Services, Inc., which is currently being
sued by the US Department of Justice under the False Claims Act. See https://www.justice.gov/opalpr/united-states-
intervenes-false-claims-act-lawsuit-against-prime-healthcare-services-inc-and.



                                                        75
complications, and comorbidities; and by failing to report and return overpayments from Medicare

within the required time period.

        97.    Defendants, by the conduct set forth herein, have violated:

               a.   31 U.S.C. § 3729(a)(1)(A) by knowingly presenting, or causing to be presented,

                    false or fraudulent claims for payment or approval; and/or

               b. 31 U.S.C. § 3729(a)(1)(B) by knowingly making, using or causing to be made

                    or used, a false record or statement material to a false or fraudulent claim; and/or

               c.   31 u.s.c. §   3729(a)(1)(G) by knowingly making, using, or causing to be made

                    or used, a false record or statement material to an obligation to pay or transit

                    money or property to the government, or knowingly concealing or knowingly

                    and improperly avoiding or decreasing an obligation to pay or transmit money

                    or property to the government.

       98.     The United States has suffered and continues to suffer damages as a direct

proximate result of Defendants' false or fraudulent claims.

                                      PRAYER FOR RELIEF

       WHEREFORE, Relator prays for relief and judgment, as follows:

       (a)     Defendants pay an amount equal to three times the amount of damages the United

States has suffered because of Defendants' actions, plus a civil penalty against Defendants of not

less than $10,957 and not more than $21,916 for each violation of3l U.S.C.       §   3729;

       (b)    Relator be awarded the maximum amount allowed pursuant to 31 U.S.C.            §   3729(d);

       (c)    Relator be awarded all costs of this action, including attorneys' fees, expenses, and

costs pursuant to 31 U.S.C.   § 3 730(d);   and




                                                  76
        (d)    Relator and the United States be granted all such other relief as the Court deems

just and proper.

VI.    JURY TRIAL DEMANDED

       Relator hereby demands a trial by jury.



DATED: April 19, 2018                                 Respectfully submitted,




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